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              6     Attorneys for Defendants
                    NATROL, INC.; NATROL
              7     ACQUISITION CORP.; NATROL
                    PRODUCTS, INC.; NATROL
              8     DIRECT, INC.; MEDICAL
                    RESEARCH INSTITUTE
              9

             10
                                             UNITED STATES DISTRICT COURT
             11
                                       SOUTHERN DISTRICT OF CALIFORNIA
             12
—
             13     NADEEM KACHI, Individually and on            CASE NO.: 3:13-cv-00412-JM (MDD)
     z              Behalf of All Others Similarly Situated,
C:           14
z    0
                                Plaintiff,                       [Assigned to the Honorable Jeffrey T.
C
             15                                                  Miller Ctrm. 16]
                                                                        —




                    V.
             16
     F                                                           DECLARATION OF GUOYAO WU,
                    NATROL, INC.; NATROL                         PH.D. IN SUPPORT OF
             17     ACQUISITION CORP.; NATROL
     0                                                           DEFENDANTS’ OPPOSITION TO
     z              PRODUCTS, INC.; NATROL DIRECT,               PLAINTIFF’S MOTION FOR CLASS
             18     INC.; d/b/aJ MEDICAL RESEARCH                CERTIFICATION
                    INSTITUTE (MRI),
             19
                                 Defendants.
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                                                              1                      3:13-CV-00412-JM (MOD)
                                  DECLARATION OF G. WU ISO OPPOSITION TO CLASS CERTIFICATION
         176083.2
         1           J, GUOYAO WU, declare as follows:
         2           1.     I am currently a University Distinguished Professor and University
               Faculty Fellow in the Department of Animal Science and Faculty of Nutrition at
               Texas A&M University. Since 1991, I have also been the Principal Investigator and
               Director of the Laboratory of Amino Acid & Protein Biochemistry and Nutrition, in
         6     the Department of Animal Science and Faculty of Nutrition, with Cross-Appointment
               with the Departments of Medical Physiology and Veterinary Integrative Biosciences
         8     at Texas A&M University.
                     2.     I received a Bachelor of Science degree in Animal Science from South
        ‘°     China Agricultural University in 1982. I received a Master’s degree in Animal
               Nutrition from Beijing Agricultural University in 1984, and another Master’s in
        12     Animal Biochemistry from the University of Alberta in 1986. I received my Ph.D. in
               Animal Biochemistry from the University of Alberta (Canada) in 1989, with my Ph.D.
               research in Protein and Amino Acid Metabolism in Skeletal Muscle. I received a
z
        15     post-doctorate degree in Nutrition and Diabetes from McGill University Medical
        16     School (Canada) in 1991, and another post-doctorate degree in Biochemistry from

        17
               Memorial University Medical School (Canada) in 1991, where I researched Arginine
        18     Metabolism in Macrophages.
        19           3•     I have been studying the effects of L-arginine on humans and other
        20     mammals for over 20 years, and I have published extensively on L-arginine
        21     biochemistry, nutrition and physiology. My papers have been cited over 10,000 times
        22     according to the Science Citation Index (“SCI”). I began publishing articles and
        23     studies relating to L-arginine in 1992, and continue to study L-arginine today. I
        24     authored a book that was published in 2013, “Amino Acids, Biochemistry and
        25     Nutrition,” that includes a discussion of the effects of L-arginine in humans.
        26           4.     I was retained by Defendants to review and comment upon the report of
        27     Platiniff’s expert, William Campbell (the “Campbell Report”). A true and correct
        28


                                                           2                      3:11-CV-00412-.TM(MDD)
                             DECLARATION OF G. WU ISO OPPOSITION TO CLASS CERTIFICATION
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          1    copy of my report, commenting on the Campbell Report, is attached hereto as Exhibit


                     5.     Research almost universally agrees that oral L-arginine supplementation
               at the dosages recommended by Natrol on the three products at issue in this action
               increases NO synthesis for certain populations, including older individuals, subjects
         6     with low arginine intake, smokers, overweight individuals, individuals with risk
               factors for cardiovascular disease, and individuals with diabetes. This is because these
          8    populations suffer from reduced NO synthesis for various reasons. For example,
               Bode-Boger SM (2006), Clarkson et a!. (1996), Luiking et al. (2010), McNight et al.
        10     (2010), and Wu and Meininger (2000), among others, have found that NO deficiency
               in the vasculature and other tissues occurred under a variety of diseased conditions
        12     (including obesity, diabetes, and hypertension) and in response to smoking,
.
        13     hypercholesterolemia, and oxidative stress, because of reduced NOS enzymatic
        14     activity and increased oxidation of NO by oxidants (Maxwell and Cooke 2001; Wu
        ‘      and Meininger 2009).
        16           6.     Because Plaintiff testified that he has smoked for 13 of the past 15 years,
        17     he is a member of one of the populations for which the studies almost universally
        18     agree that oral L-arginine supplementation will increase NO synthesis.
        19           7.     Studies also confirm that L-arginine, at the doses recommended by
        20     Natrol on its products, may improve immune function, both by increasing antibody
        21     production and by killing pathogens (including bacteria, fungi, parasites and viruses).
        22     These improvements in immune function include both NO-dependent and NO-
        23     independent improvements.
        24           8.     For both “healthy” and “unhealthy” populations, the effects of L-arginine
        25     at the dosages recommended by Natrol on its products will vary substantially from
        26     person to person, including its effect on erectile function. The following factors
        27     influence the effectiveness of the Products for any individual:
        28           -      the individual’s baseline arginine level, which can vary substantially,

                                                           3                      3:13-CV-00412-JM (MOD)
                              DECLARATION OF G. WU ISO OPPOSITION TO CLASS CERTIFICATION
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      1                 even in healthy populations;
     2           -      the individual’s level of physical activity. Because exercise
                        independently increases NO synthesis, healthy individuals who do not
                        regularly exercise will likely experience a more dramatic effect from L
                        arginine supplementation than will individuals who exercise regularly;
     6           -      dietary consumption of foods rich in L-arginine;
                 -      whether the individual’s diet is high in calcium, vitamin C, or n-3
     8                  polyunsaturated fatty acids (all of which stimulate NO synthesis), or in
                        glutamine, lysine, saturated fatty acids, fructose or glucosamine (all of
    10                  which inhibit NO synthesis);
    H            -      the individual’s baseline ADMA (asymmetric dimethylarginine) level;
    12                  and
                 -      the individual’s age.
    14           9.     In addition to increasing NO synthesis, L-arginine has benefits that are
    15     independent of NO synthesis. L-argrnine increases the release of insulin; increases the
    16     synthesis of creatine; and decreases white fat accretion and viscosity of blood. Each
    17     of these reactions results in health benefits separate and apart from those gained by
    18     increased NO synthesis.
    19                  Arginine alpha-ketoglutarate (AAKG) is a salt formed by combining an
    20     arginine molecule with an alpha-ketoglutarate molecule through the ionic bond. The
    21     formation of AAKG as a dietary supplement has the distinct advantage of avoiding
    22     acid-base imbalance in physiological fluids that may result from consumption of
    23     supplemental L-arginine alone. In addition, dietary supplementation with AAKG can
    24     increase production of ATP (the major form of biological energy) by cells to
    25     beneficially promote the endothelium-dependent vasodilation of blood vessels and
    26     energy provision. L-arginine alone has a very limited effect on increasing ATP.
    27     1/!
    28     ///
                                                      4                      3:13-CV-00412-.TM (MDD
                          DECLARATION OF G. WU ISO OPPOSITION TO CLASS CERTIFICATION
176083.2
                      11.   For at least the past five to 10 years, I have made it a point to recommend
           2    to the students in my classes at Texas A&M that they take an oral L-arginine
                supplement to improve their health and well-being. I do this because I believe that L
                arginine supplementation has potential advantages to all populations.
                      I declare under the penalty of perjury pursuant to the laws of the United States
           6    of America that the foregoing is true and correct. Executed February 24, 2014 at
                College Station, Texas.



                                                                    (Juoyao Wu
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                              DECLARATION OF G. WU ISO OPPOSITION TO CLASS CERTIFICATION
    I 76083.2
EXHIBIT “A”
                        REBUTTAL EXPERT WITNESS REPORT

                                               by

                                        Dr. Guoyao Wu

       This Report is prepared in connection with the case styled Nadeem Kachi v. Natrol Inc.,

et al., Case No. 13-cv-412-JM (MDD).

CREDENTIALS

       I have been asked by Defendant Natrol, Inc. (“Natrol”) to respond to the expert report of

Dr. William Campbell (the “Campbell Report”) submitted by Plaintiff in this action.

       I am currently a University Distinguished Professor and University Faculty Fellow in the

Department of Animal Science and Faculty of Nutrition at Texas A&M University. Since 1991,

I have also been the Principal Investigator and Director of the Laboratory of Amino Acid &

Protein Biochemistry and Nutrition, in the Department of Animal Science and Faculty of

Nutrition, with Cross-Appointment with the Departments of Medical Physiology and Veterinary

Integrative Biosciences at Texas A&M University.

       I received a Bachelor of Science degree in Animal Science from South China

Agricultural University in 1982. I received a Master’s degree in Animal Nutrition from Beijing

Agricultural University in 1984, and another Master’s in Animal Biochemistry from the

University of Alberta in 1986. I received my Ph.D. in Animal Biochemistry from the University

of Alberta (Canada) in 1989, with my Ph.D. research in Protein and Amino Acid Metabolism in

Skeletal Muscle. I received a post-doctorate degree in Nutrition and Diabetes from McGill

University Medical School (Canada) in 1991, and another post-doctorate degree in Biochemistry

from Memorial University Medical School (Canada) in 1991, where I researched Arginine

Metabolism in Macrophages.

       I have been studying the effects of L-arginine on humans and other mammals for over 20

years, and I have published extensively on L-arginine biochemistry, nutrition and physiology.

My papers have been cited over 10,000 times according to the Science Citation Index (“SCI”). I

began publishing articles and studies relating to L-arginine in 1992, and continue to study L

                                                1
arginine today. I authored a book that was published in 2013, “Amino Acids, Biochemistry and

Nutrition,” that includes a discussion of the effects of L-arginine in humans.

          I have been invited to give presentations on the effects of arginine at Texas A&M,

Rutgers University, University of Alberta, Baylor College of Medicine’s Children’s Nutrition

Research Center, University of Texas, Southern Illinois University School of Medicine, Texas

Tech University, the Chinese Academy of Science, University of Illinois, the National Cancer

Institute, University of Maryland, the EURO Conference on Nutrition, Immune Functions and

Health, North Dakota State University, Virginia Tech University, Wuhan Polytech University in

China, University of Kentucky, Ohio State University, University of New Mexico School of

Medicine, Oklahoma State University, Iowa State University, Seoul National University, the

Japan Nutrition Society Annual Meeting, and the Japan Pediatrics Society Conference, among

others.

          I have been hired as a consultant on issues relating to L-arginine on a number of

occasions, but have not previously testified as an expert.

          A detailed C.V. that lists substantially all of the studies, books and papers I have

authored, as well as the invitations I have received to give presentations during my career is

included as Exhibit A to this report.

ASSIGNMENT

          I have been asked by Natrol’s legal counsel to review and comment upon the Campbell

Report submitted on behalf of the Plaintiff, a copy of which is attached as Exhibit B. My billing

rate for all work in this action is $500/hr.

BASIC SUMMARY OF L-ARGININE

          A.     L-Arginine and NO synthesis

          L-Arginine is a basic amino acid present in physiological fluids of humans. This nutrient

is required for synthesis of protein, creatine and NO. (Wu and Morris 1998). Synthesis of NO

from arginine occurs in virtually all human cells. (Wu and Morris, 1998). Available evidence

shows that NO synthesis is affected by the foods humans consume (Wu and Meininger 2002).

                                                    2
For example, arginine, calcium, vitamin C, and n-3 polyunsaturated fatty acids stimulate NO

synthesis, but glutamine, lysine, saturated fatty acids, fructose, and glucosamine in the human

diet inhibit NO synthesis. This has important implications for understanding the responses of

humans to dietary arginine supplementation regarding NO production by specific cells and the

whole body.

        B.      Physiological function of arginine and NO in mammals

        Arginine has crucial roles in nutrition and metabolism. Compelling evidence shows that

dietary supplementation with arginine may be beneficial in improving cardiovascular function,

immunity, neurological function, wound healing, fertility in both males and females, nutrient

absorption, mitochondrial biogenesis, and insulin sensitivity, while reducing hyperglycemia,

dyslipidemia, obesity, high blood pressure, atherosclerosis, infections, embryonic and fetal

deaths, and diarrhea. (Table 1).

        The actions of arginine on the vasculature are mediated by both NO-dependent and

independent mechanisms. (Table 2).

Table 1. Roles of arginine in growth, health and disease

Roles of arginine                                    Reported Effect   Mediators

Cardiovascular health and disorders
   Vascular vasodilatation                                    t        NO
   Coronary and peripheral arterial diseases                           NO
   Heart failure, stroke, and ischemia!reperfusion injury              NO
   Sickle cell anemia and vasculopathy                        4,       NO
Endothelial dysfunction in patients with CVRF
   Aging and hyperhomocysteinemia                             .1.      NO
   Diabetes, hypertension, and smoking                        4,       NO
   Hypercholesterolemia and high-fat feeding                  4,       NO
Immune function
   B-cell maturation and antibody production                           NO, PA, and PS
   Killing pathogens (bacteria, fungi, parasites and virus)   4’       NO
Metabolism
   BAT growth and energy-substrate oxidation                  4’       cGMP, PA, cAMP, and NO
   Cell signaling (AMPK, MTOR, and cGMP)                      1’       NOandArg
   Lactogenesis and neonatal growth and development           4’       Arg, NO, MTOR, PA, and proline
   Protein synthesis and muscle growth                        4’       MTOR and PA
   Ammonia detoxification via the urea cycle                  4,       Arg, NAG and ornithine
   Obesity, insulin resistance, and dyslipidemia              4,       AMPK, Arg, and NO

                                                     3
    Production of ROS and oxidative stress                               Arg, creatine, PA, and NO
    Protein degradation and apoptosis                                    MTOR, NO, and autophagy
Reproduction
    Embryo implantation, survival, and growth                            NO, PA, PS, and MTOR
    Fetal survival, growth, and health                          t        NO, PA, PS, and MTOR
    Ovulation, ovarian steroidogenesis and oocyte quality       t        NOandPA
    Placental angiogenesis, growth, and function                I        NO, PA, PS, and MTOR
    Spermatogenesis, sperm quality, and male fertility          I        NO, PA, and PS
    Uterine contractility and preterm labor                              NO
    Erectile dysfunction                                                 NO
    Preeclarnpsia in human pregnancy                                     NO
Skeletal muscle and brain function                              I        Creatine, NO, and PS
Tissue injury and repair
    Cystic fibrosis and lung injury                                      NO,   PA, and proline
    Gastrointestinal, liver and vessel injury                   j.       NO,   PA, and proline
    Necrotizing enterocolitis in infants                                 NO,   PS, PD, and PA
    Renal disease with systemic hypertension                             NO
    Severe malaria, ulcers, and mitochondrial myopathy                   NO
    Tissue integrity, wound healing, and angiogenesis           I        NO,   PA, proline, and PS
Tumor growth
    Tumorigenesis at early stages                                         NO
    Tumorigenesis at late stages                                I         PA, proline, ornithine, and PS

The symbols “I”and “i” denote enhancement and inhibition (or prevention), respectively. AMPK, AMP-
activated protein kinase; BAT, brown adipose tissue; CVRF, cardiovascular risk factors; MTOR,
mechanistic target of rapamycin (protein kinase); NAG, N-acetylglutamate; NO, NO; PA, polyamines;
PS, protein synthesis; ROS, reactive oxygen species. Adapted from Flynn et al. (2002).

Table 2. NO-dependent and independent actions of L-arginine on the vasculature

NO-dependent vascular actions                        NO-independent vascular actions

t GC and smooth muscle cell relaxation               1’ EC membrane polarization and transport activity
t EC proliferation & angiogenesis                    t Extracellular and intracellular pH
I- Endothelin- 1 release by EC                       t Release of insulin, GH, glucagon and prolactin
t- Leukocyte adhesion to blood vessel wall           t Synthesis of ornithine, creatine, Pro and PA
‘-   Platelet aggregation within blood vessel        t Plasmin generation and fibrinogenolysis
-    Superoxide production by EC                     i- Leukocyte adhesion to non-EC matrix
I-   Expression of cell adhesion molecules           -   FA profile, oxygenation and viscosity of blood
I-   Expression of monocyte chemotactic peptides     1- Angiotensin-converting enzyme activity
i-   Proliferation of vascular smooth muscle cells       Release of 02 and H
                                                                           0 and lipid peroxidation
                                                                           2
     EC mitochondrial injury and apoptosis           -   Formation of TXB
                                                                      , fibrin and platelet-fibrin
                                                                      2

        Abbreviations: EC, endothelial cell; FA, fatty acid; GC, guanylyl cyclase; GH, growth hormone;
PA, polyamines; Pro, proline; TXB
                              , thromboxane B
                              2                    . The symbols T and denote increase and
                                                   2                          -


decrease, respectively. Adapted from Wu and Meininger (2000).




                                                     4
       C.        Dietary requirements of arginine for optimal health

       Food contains various amounts of arginine primarily in the form of protein. Results of

the third National Health and Nutrition Examination Survey indicate that mean arginine intake

for the U.S. adult population is 4.4 g/day, with 25, 20 and 10% of people consuming              <   2.6

(suboptimal), 5 to 7.5, and> 7.5 g/day, respectively (King et al. 2008). While it was traditionally

considered that arginine was synthesized adequately in adult humans and was not needed in

diets, a deficiency of arginine in the diet severely impairs the reproductive functions of adult men

and women (Wu et a!. 2000, 2009, 2013a), while causing cardiovascular dysfunction (Kamada et

al. 2001; Wu and Meininger 2000, 2009) and skeletal muscle abnormality (Burns et al. 1981;

Hnia et al. 2008).

       D.        Determination of NO synthesis by cells and whole-body NO synthesis

       NO has a short half-life in oxygenated aqueous solution (e.g.,         <   5 sec in cell culture

medium and in blood) (Baylis and Valiance 1998). Thus, it is technically difficult to directly

measure NO that is synthesized from arginine in isoiated cells or in the body. NO is oxidized to

form nitrite and then nitrate in cells and blood. Because nitrite and nitrate are stable at neutral

pH (e.g., 7.0 and 7.4), they can be used as an indicator of NO synthesis in a biological system if

exogenous provision of nitrite plus nitrate is low or negligible. Of note, nitrite and nitrate are

quantitatively excreted in the urine of humans and other mammals, with nitrate being

approximately 100 times greater than nitrite (Jobgen et a!. 2007). For example, approximately

52% of the nitrate that enters the blood circulation appears in the urine (Houben et al. 2010). In

healthy adults (69 kg) consuming 0.8 g high-quality proteinlkg body weight per day (dietary

nitrate intake       180 tmo1), endogenously synthesized nitrate that appears in the urine is 510

imoI/day (Green et a!. 1981). Besides the nitrate formed from the arginine-derived NO, the diet

(foods, drinking water, and beverages), the ambient air, and intestinal bacteria are sources of the

nitrate in the urine. For example, the average U.S. adult ingests daily 1600 tmol nitrate from the

typical diet (Green et al. 1981). Thus, when the diet is not controlled for nitrite or nitrate, nitrite



                                                   5
plus nitrate in the plasma and urine are not a valid indicator of systemic NO synthesis in the body

(Baylis and Valiance 1998; Evans et al. 2004).

OPINIONS

       Based on my review of the Campbell Report, the studies referenced in the Campbell

Report, a review of additional studies (a list of which is attached hereto as Exhibit B), the First

Amended Complaint and exhibits attached to the First Amended Complaint, and my experience

and expertise in the field of L-arginine, I have concluded as follows:

    1. Dr. Campbell’s Opinions are Not Based Upon Thorough Scientific Research and are

       Therefore Unreliable

       In my opinion, Dr. Campbell’s Report and his related opinions do not reflect a thorough

research and review of the substantial body of evidence relating to L-arginine. Although Dr.

Campbell claims to have reviewed numerous studies, his Report is focused only on studies that

may support his conclusion and omits a large body of rigorous studies published in reputable

journals that support the opposite conclusions. In addition, Dr. Campbell offers a “global

conclusion” that “none of the claims made by the Defendant about its product find any support in

established science, and are refuted by this science   ...   no matter who the user is   ...   based on

common human physiology.” His Report, though, is focused almost exclusively on studies

conducted on young, healthy individuals. In fact, his opinions regarding two of the “claims”

(NO synthesis and increased endurance performance) are expressly limited to the effects on

“healthy populations.” It is not scientifically valid or acceptable to hand-pick and cite to a small

fraction of the available research and studies, with a focus on those with outcomes that support

one conclusion.

        His opinions do not apply to older individuals, smokers, individuals with risk factors for

cardiovascular disease, or individuals with diabetes. These groups together constitute well over

half of the adult population in the United States, and the research almost universally agrees that

L-arginine supplementation benefits these populations. That is because each of these

“unhealthy” populations suffers from reduced NO synthesis, for various reasons. For example,

                                                  6
Bode-Boger SM. (2006), Clarkson et a!. (1996), Luiking et a!. (2012), McKnight et a!. (2010);

and Wu and Meininger (2000), among others, have found that NO deficiency in the vasculature

and other tissues occurs under a variety of diseased conditions (including obesity, diabetes, and

hypertension) and in response to smoking, hypercholesterolemia, and oxidative stress, because of

reduced NOS enzymatic activity and increased oxidation of NO by oxidants (Maxwell and

Cooke 2001; Wu and Meininger 2009). A severe deficiency of BH4 (an essential cofactor of

NOS) in endothelial cells is the major factor contributing to impaired NO synthesis in the

vasculature under diseased conditions (Hoang et a!. 2013; Shi et al. 2004). This can be explained

by reduced expression of GTP cyclohydrolase I (the first and rate-controlling enzyme in BH4

synthesis from GTP) and increased oxidation of BH4. Oxidative stress also reduces the

availability of NADPH (another essential cofactor for NOS) in cells. Furthermore, in obese and

diabetic patients, the concentration of arginine in plasma is reduced due to enhanced expression

of arginase to degrade arginine and reduced activity of arginine-synthetic enzymes (Wu et al.

2009). In endothelial cells, arginine upregulates expression of GTP cyclohydrolase I, thereby

increasing the generation of BH4 from GTP to stimulate NO synthesis (Shi et a!. 2004). In

contrast to the diseased state, concentrations of arginine and cofactors of the NOS (e.g., BH4 and

NADPH) in cells are relatively constant and are not deficient in normal individuals. Therefore,

the patients with endothelial dysfunction respond more sensitively to dietary arginine

supplementation than healthy subjects.

       In forming my rebuttal opinions, I considered a substantial number of publications, both

those that conclude that L-arginine supplementation is beneficial and those that have questioned

such conclusions. Only a small fraction of these publications are cited in the Campbell report as

having been reviewed or even considered by him in his Report.

       Even as to healthy individuals, effects of L-arginine vary substantially from person to

person, such that it is impossible to conclude that L-arginine will supplementation will have no

effect “no matter who the person is   ...   based on common human physiology.” The following

variables will impact the responses of a healthy individual to L-arginine supplementation:

                                                    7
•   Baseline arginine levels   —   the lower the baseline arginine level, the more dramatic

    the effect will be from L-arginine supplementation. Numerous studies confirm

    that baseline arginine levels vary greatly, even in healthy populations. For

    example, in Alveres et. al. (2012), the average baseline arginine level was 123.3

    micromoles, but varied by as much as 44.6 tM (over 33%) among the subjects.

    Willoughby et. al. (2011) similarly found substantial variance in the arginine

    levels of the healthy subjects who took only a placebo (14% variance).

•   Physical activity because exercise independently increases NO synthesis,
                     -




    healthy individuals who do not regularly exercise will likely experience a more

    dramatic effect from L-arginine supplementation than will individuals who

    exercise regularly. Willoughby et al. (2012) stated that “resistance exercise was

    found to significantly increase NOx” after the exercise session. Fahs et al. (2009)

    likewise recognized that “acute exercise has been shown to increase NO

    production.”

•   Dietary consumption of foods rich in L-arginine      —   healthy individuals who

    consume a diet low in L-arginine would experience more effect from L-arginine

    supplementation than those who consume a diet high in L-arginine. King et a!.

    (2008) found that dietary L-arginine consumption in U.S. adults ranged from

    under 2.6 g/day to over 7.5 g/day, with only 30% of American adults consuming

    over 5 g/day.

•   High ADMA levels     —   Asymmetric dimethylarginine (“ADMA”) is a naturally

    occurring component in human blood plasma that inhibits NO synthesis. ADMA

    levels vary substantially, even among otherwise healthy individuals. If L-arginine

    supplementation (expressed per kg body weight) is the same among subjects,

    those with higher ADMA levels are likely to experience less significant effects

    from L-arginine supplementation than those with lower ADMA levels.

    Willoughby et al. (2012) found that ADMA levels varied by as much as 50%

                                          8
               among healthy subjects, and that the baseline ADMA:arginine ratio varied by

               almost 75%.

               Age   —   NO synthesis slows as people age. L-arginine supplementation will have a

               more dramatic effect on NO synthesis for older individuals than it will for

               younger individuals. Chen at al. (2010) studied the effect of L-arginine

               supplementation on healthy elderly male cyclists specifically because “NO

               production diminishes in quantity and availability as we age and is associated

               with an increased prevalence of other cardiovascular risk factors.”

        In addition to ignoring these important variables, Dr. Campbell’s Report also suffers from

other substantial deficiencies.

   2. Dr. Campbell’s opinion that “L-arginine supplementation does not increase

        endogenous markers of NO levels in healthy population          ...   no matter who the user

           based on common human physiology” is inconsistent with the best scientific

        research.

        In support of this opinion, Dr. Campbell states that he “was unable to locate even one

study that has reported that oral L-arginine supplementation alone increases endogenous NO

levels in these [healthy] populations.” This statement ignores a number of reputable studies that

have specifically reported that L-arginine supplementation increases NO levels in healthy

populations. Among those studies are the following:

    .   Mariotti F, et al., 2013. Kinetics of the utilization of dietary arginine for NO and urea

synthesis: insight into the arginine-NO metabolic system in humans. Am. I. Clin. Nutr. 97:972-

979.

        Study information: After an overnight fast, nine healthy young men consumed a liquid

meal containing 50 g amino acids (including 1.73 g arginine and N
                                                                N
                                                                5
                                                                [‘-(guanido)]-arginine
                                                                           -’ as

a tracer) supplemented with or without 3 g arginine, followed by collection of blood samples

                                                           N]Arginine in plasma, [bN]urea in
every hour and of urine samples every 2 hours for 8 hours. [‘
                                                           5
                          [1
plasma and urine, and          N]nitrate in urine were determined using mass spectrometry. Data were
                               5

                                                     9
analyzed using a compartmental modeling approach to calculate the conversion of arginine into

urea and NO in the whole body.

       Major results and comments: Results of this study support the earlier notion that

arginine metabolism via arginase and NOS pathways is highly complex in mammals, including

humans (Wu and Morris 1998). Specifically, 40% of dietary arginine is metabolized in the

small intestine and cannot enter the systemic circulation, whereas arginine is synthesized in the

kidneys, endothelial cells, and other cell types from citrulline that is formed in enterocytes from

dietary glutamine, glutamate and proline, as well as arterial glutamine. Furthermore, there is an

arginine-cycle recycle in all mammalian cells. Thus, dietary arginine and plasma arginine have

different metabolic pathways. Using an integrative methodology, the authors provide strong

evidence that dietary supplementation with 3 g arginine within the physiological range promotes

whole-body NO synthesis by nearly 100% in healthy adults.

           Monti LD et a!.,. 2013. L-arginine enriched biscuits improve endothelial function

and glucose metabolism: a pilot study in healthy subjects and a cross-over study in subjects with

impaired glucose tolerance and metabolic syndrome. Metabolism, 62:255-264.

       Study information (related only to the experiment involving healthy adults): Seven

healthy subjects (2 male /5 female; a mean body weight of 62 kg) consumed a diet containing

1900 Kcallday energy, 68 g/day protein (including 2.6 g arginine) and other necessary nutrients.

Subjects underwent 3 different tests in random order with at least 14 days between each test. For

a test, the subjects consumed either L-arginine-enriched biscuits (providing 171 Kcal energy,

21.9 g digestible carbohydrates, 3.6 g protein, 6.6 g arginine, 7.5 g fat, and 4.3 g dietary fiber per

biscuit), placebo biscuits, or 6.6 g arginine powder after an overnight fast. All subjects drank 250

mL natural water. Blood samples were taken at 0, 30 60, 90, 120, 180, and 240 mm for analysis

of arginine, nitrite plus nitrate, and cGMP. Forearm blood flow was measured using the strain

gauge venous occlusion plethysmography every 60 mm for 240 mm.

Major results and comments: Results of this study indicate that dietary supplementation of 6.6 g

arginine in the form of a biscuit or pure powder similarly increased concentrations of L-arginine

                                                  10
(at 90-240 mm), nitrite plus nitrate (at 120 mm), and cGMP (at 60 mm) in the plasma of healthy

subjects by 55%, 42%, and 48%, respectively, when compared to the placebo group.

Additionally, the rate of forearm blood flow (an indicator of NO availability) in the subjects

supplemented with arginine powder was increased by 28% and 25% at 120-125 and 180-185 mm

post administration, respectively. The rates of skeletal-muscle blood flow were similar between

arginine-enriched biscuit and arginine-powder groups. Taken together, the findings support the

notion that dietary arginine supplementation enhances NO synthesis in the vasculature of healthy

adults.

          Bailey, et al. (2010) tested the effect of 1-arginine on healthy subjects.’ The study

reported that “Plasma NO2 was significantly higher during Arginine supplementation than in the

placebo condition for the first five sample points. On average, across the six sample points,

plasma NO2 was 108% greater during Arginine supplementation than in the plasma condition.”

          The studies Dr. Campbell does rely on to support his opinion are not the final, conclusive

say on the issue of NO synthesis from dietary L-arginine supplementation, and there are

methodological and design flaws in each of these studies that render their conclusions to be of

questionable reliability and validity. The common problems with all of the studies upon which

Dr. Campbell relied are noteworthy. First, the diets (including foods, drinking water and

beverages) consumed by the study subjects were not controlled for nitrite or nitrate, rendering

measurements of concentrations of nitrite plus nitrate in the serum (or plasma) or urine invalid

indicators of whole-body NO synthesis or endothelial NO synthesis. Second, the authors did not

determine dietary intake of any amino acids (including arginine), polyunsaturated long-chain

fatty acids, saturated long-chain fatty acids, fructose, glucosamine, vitamin A, vitamin C, vitamin

E, folic acid and calcium that are known to affect endothelial NO synthesis (Wu and Meininger

2002). Information on dietary intakes of nutrients and other substances is essential to interpret

the authors’ data on concentrations of nitrite plus nitrate in the serum (or plasma) and urine. This


 The study used a supplement containing 6g of L-arginine, along with “trace amounts of vitamins   ..   other amino
acids   and fructose at a dose that would not be expected to elicit performance gains”

                                                       11
is because some nutrients (e.g., arginine, taurine, polyunsaturated long-chain fatty acids, vitamin

A, vitamin C, vitamin E, folic acid and calcium) stimulate endothelial NO synthesis, but other

nutrients and substances (e.g., lysine, glutamine, glucosamine, and saturated long-chain fatty

acids) inhibit endothelial NO synthesis (Wu and Meininger 2002). Third, 24-h urine collection

was not performed by the authors and, thus, total amounts of nitrite plus nitrate in the urine

excreted by the study subjects could not be determined. Finally, very large variations in the

measured metabolites existed among the study subjects. However, the authors did not do a

statistical power calculation to calculate an appropriate sample size based on known variation of

NO synthesis in the study subjects. Thus, the sample size in all the studies may not be sufficient

to detect a statistical significance in a measured variable between placebo and arginine

supplemented groups. Indeed, the number of the study subjects in a treatment group was too

small to draw a defmite conclusion.

       Each of the studies cited by Dr. Campbell is discussed below:

               Alveres et al. (2012). The Alveres 2012 study acknowledges that dietary L

arginine supplementation may increase NO synthesis in individuals with hypertension, diabetes,

high cholesterol, and kidney failure, as well as smokers and older individuals. With respect to

healthy individuals, the Alveres study acknowledges the importance of controlling for NO2 and

NO3 in the subjects’ diet, but does not actually control for that in any verifiable manner. While

subjects were advised as to what foods had high or low N02 and N03 levels, and were requested

to restrict their diets from foods rich in N02 and N03, the study did nothing to actually ensure

that subjects complied. It simply requested that subjects recite their diet for the 24 hours prior to

testing, but employed no testing mechanism to confirm compliance. By failing to strictly control

for high NO2 and high NO3 levels in the subjects’ diet, the effects of L-arginine on vascular NO

synthesis may be masked.

       In addition, no urine samples were obtained from the study subjects for analysis of nitrite

plus nitrate. In contrast to the authors’ claim, no data on dietary intake of nitrite or nitrate was

provided and no verification of dietary intake of nitrite or nitrate was made. Nitrate content in

                                                   12
meats, fish, bean products, and fruit juices, and nitrate plus nitrite content in milk were not

considered. Thus, due to these concerns, there is a low level of confidence in the authors’

conclusion.

         Because the Alveres study did not properly control for dietary nitrate and nitrite

consumption, and because it relied on an unreliable method for measuring vascular NO

synthesis, the study’s findings regarding NO synthesis are unreliable. As a result, this study

cannot be used to conclusively determine the effect that oral L-arginine supplementation has on

NO synthesis.

                  Liu et al. (2009). The Liu 2009 study investigated the effects of L-arginine on an

admittedly narrow population of 10 elite college-level judo competitors.
                                                            2 As with the Alveres

study discussed above, the Liu 2009 study acknowledges that dietary L-arginine supplementation

can improve NO synthesis and vasodilation in subjects with hypertension or chronic heart

failure. The Liu study, however, makes no attempt at all to control for nitrate and nitrite intake

of the subjects, calling its conclusions into question. Equally important, this study excluded

otherwise healthy subjects who had “abnormally high or low plasma arginine concentrations,”

thereby eliminating the possibility of demonstrating the effects of L-arginine supplementation on

otherwise healthy individuals whose baseline arginine level is lower than the norm. In addition,

the Liu study used another unreliable method for measuring vascular NO synthesis                     —   a test

known as a “Greiss reaction,” which is a method for measuring plasma or urinary nitrate and

nitrite levels, rather than actual NO.

         Further, the peak mean concentration of arginine in the plasma of study subjects

supplemented with arginine (6 g/day) was less than 100 tM during the 130-minutes after its oral

administration. Such a low level of arginine in plasma may not be sufficient to elicit a significant

increase in whole-body NO synthesis. The concentration of nitrite plus nitrate in the baseline



2
  In addition to testing the effects of L-arginine supplementation on a very narrow population, the authors of the Liu
study admit that the exercise protocol (20 seconds of all-out exercise by elite athletes, followed by 15 seconds of
rest, for 13 sets) “could minimize the potential learning effect” of the study.

                                                          13
plasma was —250 tM, which was approximately 10 times the value for subjects whose diet is

controlled for nitrite and nitrate. No urine sample was collected for analysis of nitrite plus nitrate.

Thus, there is limited confidence in the conclusion of this study.

        •       Vanahatalo et a!. (2013). The Vanahatalo study, consistent with the Liu and

Alveres study, concedes that oral L-arginine supplementation may increase NO synthesis in

particular populations, including older subjects and subjects with poor aerobic fitness or

cardiovascular health. And as with the Liu study, this study made no effort to control dietary

consumption of NO2 or N03. The study also failed to measure the concentrations of L-arginine

in the plasma before or during testing. As a result, it is unclear whether the subjects took the

required doses of L-arginine, whether the dose purportedly administered was accurate, and

whether the dosage actually increased the plasma L-arginine levels in the subjects.

        The study also used another unreliable procedure for measuring vascular NO synthesis.

Modified chemiluminescence, which was used to measure nitrate and nitrate levels in this study,

is unreliable for the same reasons that that the Greiss reaction is unrealiable. Nor did the study

design included collection of the subjects’ urine to measure nitrate and nitrite levels. As a result,

the study’s conclusions regarding the effect of L-arginine supplementation on vascular NO

synthesis are inconclusive and suspect. In fact, the study itself states that “further research is

required to determine whether pure L-arginine can be recommended as an ergogenic aid to

enhance endurance exercise performance.”

        •       Willoughby, et al. (2011). This study tested the effects of L-arginine AAKG, not

pure L-arginine.
     3 As a result, its conclusions are limited, and cannot be extrapolated to

supplementation of simple L-arginine. In addition, this study also failed to control for dietary

consumption of nitrates and nitrites. And while the authors of the study determined the

concentrations of nitrates plus nitrites and ADMA in the plasma at numerous times (pre-exercise,

post-exercise, and 30 minutes post-exercise), they only measured the concentrations of L



 Only one of the three products at issue, NO2 Platinum, contains L-arginine AAKG.

                                                      14
arginine in the plasma before exercise. No explanation was given for this clear defect in the

study design.

       The study also attempted to extrapolate vascular NO synthesis by measuring serum

nitrate and nitrite levels using a colorimetric assay kit. It did not collect or test urine samples. In

fact, the authors of the study acknowledge that its results are limited because “we measured NO

metabolites and not actual levels of circulating NO.” Because this method does not measure

actual vascular NO synthesis, its results are unreliable.

       •        Forbes, et al. (2011). This study, which was limited to the effects of L-arginine

supplementation on subjects at rest, actually acknowledges that “it has been shown that during

periods of rapid growth, a traumatic incident, a pathological insult, or some other type of

physiological stressor such as exercise, the demand for L-arginine may not be filly met by de

novo synthesis and normal dietary intake alone; this needs to be further explored.” As with the

other studies upon which Dr. Campbell relies, this study made no effort to control for dietary

consumption of nitrates and nitrites, and used the unreliable method of measuring plasma nitrates

and nitrites to determine vascular NO synthesis      —    colormetric assay in this instance, and no urine

sample was collected for analysis of nitrite plus nitrate. In addition, the mean concentrations of

arginine in the baseline plasma of study subjects fasted for 10 hours were> 250 jiM, which were

sustained during a 180-minute period in the placebo group and the arginine supplementation

groups. Such a high baseline value of arginine in the plasma of the placebo group raised the two

serious concerns that: (1) the analysis of arginine was grossly inaccurate; and/or (2) all the

subjects had very high intake of arginine in their diets. As a result, the study’s conclusions

regarding the effects of L-arginine supplementation on NO synthesis are inconclusive and

unreliable.

       •        Alveres et a!. (2012)   —   This second study by Alveres actually concluded that L

arginine supplementation did increase muscle blood volume, consistent with the claims made by

Natrol on its NO2 Platinum product. As with the other Alveres study, this study failed to strictly

control for dietary nitrate and nitrite consumption. Additionally, no urine samples were obtained

                                                     15
from the study subjects for analysis of nitrite plus nitrate. The study also failed to report whether

blood samples were obtained for fasted or fed subjects. The peak mean concentration of arginine

in the plasma of study subjects supplemented with arginine (6 g/day for acute oral

administration) was less than 101 tM at 30 mm post supplementation and was less than 66 IIM at

60-120 post supplementation. These values of plasma arginine concentrations would be obtained

for fasted healthy adults. The concentrations of arginine in plasma at 60-120 mm post

supplementation did not differ between the placebo and arginine supplementation groups. In

contrast, the baseline concentrations of citrulline in the plasma of study subjects were -130 jiM,

which are about 100% greater than those for healthy humans consuming regular diets (Wu and

Morris 1998). Such a low baseline value of arginine but a high baseline value of citrulline in the

plasma of the placebo and arginine supplementation groups raised the two serious concerns that:

(1) the analysis of amino acids in the authors’ laboratory was grossly inaccurate; andlor (2) all

the subjects had very low intake of arginine but a high intake of citrulline in their diets. Thus

this study is unreliable with respect to the effects of L-arginine supplementation on vascular NO

synthesis.

               Bode-Boger at al. (1998). This study failed to report whether blood samples were

obtained for fasted or fed subjects. No time course of actual arginine concentrations in the

plasma of all subjects was presented. Thus, it is unclear whether actual concentrations of arginine

in plasma statistically differed between the arginine and the placebo group. This is a serious

methodology flaw because the extremely large variation of arginine in the plasma of the small

number of subjects who consumed 6 g arginine orally. The study did not track dietary intake of

nitrite and the dietary intake of nitrate in subjects was high. The amount of dietary nitrate is

similar to the daily whole-body NO synthesis in healthy adult humans consuming 0.8 g

proteinlkg body weight/day (Green et al. 1981). Thus, the large variations in urinary nitrate

among the study subjects and the high intake of dietary nitrate would likely mask a true

difference in whole-body NO synthesis or endothelial NO synthesis between the placebo group

and the subjects who consumed arginine. Finally, the release of cGMP from cells is affected not

                                                 16
only by NO availability but also by the regulation of cGMP synthesis and catabolism in cells

through other mechanisms (e.g., atnal natriuretic factor and carbon monoxide) that do not require

NO (Tsai and Kass 2009). Collectively, under the authors’ experimental conditions, urinary

excretion of nitrate or cGMP in the study subjects is not a valid or sensitive indicator of either

their whole-body NO synthesis or their endothelial NO synthesis.

       .       Evans et al. (2004). This study actually found that the impact of L-arginine

supplementation varies greatly from individual to individual, depending on issues including

weight and gender. It made no attempt to control for dietary consumption of nitrates and nitrites,

and failed to ensure that the subjects actually took the L-arginine supplements as directed. In

fact the study acknowledged that it had done nothing to confirm that all subjects actually took all

of the L-arginine doses required for the study. And as with the other studies relied upon by

Campbell, this study attempted to measure NO synthesis by measuring nitrate and nitrate levels

in the blood and urine, which is an unreliable method. Further compounded the study’s

methodological flaws, the study did not test the effects of L-arginine on NO synthesis during the

time period when L-arginine is expected to have the most substantial effect (45 minutes to an

hour after consumption). Instead the study did not test results until the end of the week, and not

until after at least an 8 hour fast. The study also had subjects take the L-arginine mixed into a

glass ofjuice. This would skew the results of the study in a number of ways. The juice may

have been high in nitrates, such as orange juice, which would mask the effects of the L-arginine

on NO synthesis. In addition, if the juice contained vitamin C, this too would skew the results,

since vitamin C has a stimulatory effect on NO synthesis. As a result, this study is of little value

in determining the effects of L-arginine supplementation on vascular NO synthesis.

       In addition to these methodological flaws, Dr. Campbell misinterpreted the authors’

conclusion. In this study, the authors did not state that dietary arginine supplementation had no

effect on whole-body NO synthesis. Rather, the authors indicated that “in agreement with

Theilmeier et al., we did not find increased NOx levels with increasing dietary arginine intake.

However, as the typical diet contains high levels of nitrites and nitrates, using these metabolites

                                                 17
as markers for NO production should only be done when dietary intake of nitrites and nitrates is

strictly controlled. Similarly, cGMP is the mediator for many actions and is not useful as a

marker of NO activity.” (Emphasis added).

                Schwedhelm et al. (2007). This study was sponsored by the manufacturers of a

supplement that directly competes with L-arginine, L-citrulline, and sought to compare the

relative effectiveness of the two products in increasing NO synthesis. The study suffers from

numerous methodological flaws, including: (1) no information on or control of diets; (2) no 24-h

urine collection for analysis of nitrite plus nitrate; (3) an incorrect method (the paired t-test) used

for statistical analysis of complex data that involved three factors (the period of the cross-over

study, the dose of arginine, the time of blood or urine sampling); (4) no comparison between the

placebo and arginine groups at any time points after oral administration; (5) very large variation

in flow-mediated vaso dilation (FMD) values; (6) only one-week of arginine supplementation;

and (7) no baseline data on plasma concentrations of endothelins (potent vasoconstrictors) in the

study subjects. Despite these methodological flaws, the study still concluded that increases in

arginine/ADMA ratios (resulting from L-arginine supplementation) did correlate to improved

vascular function, consistent with the claims made by Natrol on its products.

        Dr. Campbell also misinterpreted the authors’ conclusion. In this study, the authors did

not conclude that dietary arginine supplementation had no effect on whole-body NO synthesis.

Rather, the authors simply indicated that “urinary nitrate excretion as a measure of systemic NO

production is highly confounded by other, i.e. dietary, sources”.

                Tsai et al. (2009). This study, as with many of the studies relied upon by Dr.

Campbell, failed to control for dietary nitrate and nitrite consumption. In addition, the plasma

concentrations of nitrite plus nitrate (5 —6 jiM) in the baseline and after arginine

supplementation were too low, casting doubt on the reliability of the analytical method (the

Griess reaction) used for plasma samples. The Griess assay is based on the two-step diazotization

reaction in which nitrite is chemically transformed into a colored azo dye. Although the Griess

reaction is simple, it is interfered by NADPH, ascorbate, reduced thiols, phosphate, N°-nitro-L

                                                   18
arginine and heparin (Sun et al. 2003). Furthermore, the authors did not determine arginine in

plasma or serum at any time point before or after arginine supplementation. Thus, it is not known

whether the study subjects complied with the research protocol and whether arginine

supplementation could sufficiently increase the concentration of arginine in their plasma.

       •       Blum et al. (2000). This study, which was limited to 10 subjects, did not provide

the necessary information on: (1) the subjects’ body weight, height, or body mass index; (2) the

subjects’ diets or dietary intake of energy and nutrients (including protein, arginine and fat); (3)

dietary intakes of nitrite; (4) the time of oral arginine administration; (5) the time of blood

sampling; (6) the time of vascular studies at the end of the supplementation period; and (7) the

levels of subjects’ physical activities before and after entering the study. Furthermore, it is not

known whether the study subjects were obese or overweight, or consumed a hypocaloric diet

before and after entering the study. It is also not known whether diets were the same in the two

phases of the cross-over study. Notably, the study subjects had a very large variation in plasma

triglycerides (48 to 187 mg/dl), indicating a highly heterogeneous group of a small number of

women (only a total of 10 women in the study). The Griess reaction was used for analysis of

nitrite and nitrate in plasma samples, and this method is beset with numerous interferences, as

noted above. No urine samples were obtained from the study subjects for analysis of nitrite plus

nitrate. Concentrations of arginine in plasma were measured only at one time point, and the day

of the study and the time relative to oral administration of arginine were not reported.

Collectively, there is a low level of confidence in the authors’ conclusion.

       •       Fayh et al. (2012). This study was actually exploring the effect of L-arginine

supplementation on blood flow for individuals with type 1 diabetes, and found that L-arginine

supplementation is effective at increasing blood flow in such individuals. With respect to the

methodology, there were numerous errors. Healthy subjects had a lower variation than diabetic

subjects, and yet the authors enrolled 20 healthy subjects but only 10 diabetic subjects for this

study. Clearly, the authors’ calculation of sample size was not scientifically sound and was

likely arbitrary only. The authors’ information on dietary energy intake by the study subjects was

                                                  19
incorrect. All study subjects (including healthy adults) consumed a high amount of dietary

protein (1.49 g/kg body weight), which approximately doubled the normal intake of protein. The

authors of this study did not provide the necessary information on (1) dietary intakes of nitrite

plus nitrate; (2) the time of oral arginine administration; (3) the time of blood sampling; (4) the

time of vascular studies at the end of the supplementation period; and (5) the concentrations of

arginine in plasma or serum at any time point before or after arginine supplementation. Thus, it is

not known whether the study subjects complied with the research protocol and whether arginine

supplementation could sufficiently increase the concentration of arginine in their plasma. The

Griess reaction was used for analysis of nitrite and nitrate in plasma samples, and this method is

beset with numerous interferences, as noted above. No urine samples were obtained from the

study subjects for analysis of nitrite plus nitrate. Thus, due to these concerns, there is a low level

of confidence in the authors’ conclusion.

        Based on my review of the studies referenced above, and my overall experience and

expertise in the area of L-arginine, it is my opinion that Dr. Campbell’s statement that “L

arginine supplementation does not increase endogenous markers of NO levels in healthy

population   ...   no matter who the user      ...   based on common human physiology” is inconsistent

with the scientific research on the matter. In addition, the scientific research on the issue of the

ability of L-arginine to increase NO synthesis in “unhealthy” populations almost universally

acknowledges this effect. This includes most of the studies reviewed by Dr. Campbell, as well

as many others:

    •   Alveres et al., 2012      —   L-arginine may help treat individuals with atherosclerosis risk

        factors, such as hypertension, diabetes, kidney failure, hyperhomocysteinemia, smoking

        and aging.

    •   Liu et al., 2009    —   L-arginine may increase NO synthesis and benefit chronic heart failure

        patients.

    •   Vanhatalo et al., 2013        —   L-arginine may enhance NO synthesis in older persons, as well

        as individuals with poor aerobic fitness or poor cardiovascular health.

                                                           20
   •   Forbes et al., 2011     —   L-arginine may increase NO synthesis for those individuals who

       have suffered a traumatic incident, a pathological insult, or other types of physiological

       stressors, including exercise.

   •   Bode-Boger, et al. 1998        —   L-arginine may increase NO synthesis and vasolidation in

       those with cardiovascular disease.

       Fayh et al., 2012   —   L-arginine increased NO synthesis and limb blood flow in individuals

       with type 1 diabetes.

   •   Chen et al., 1999— finding that L-arginine supplementation nearly doubled the NOx

       levels for subjects who reported an improvement in sexual function.



   3. Dr. Campbell’s opinion that “L-arginine supplementation does not increase muscle

       blood flow   ...   no matter who the user       ...   based on common human physiology” is

       inconsistent with the best scientific research.

       As with his analysis of the studies relating to NO synthesis, Dr. Campbell ignores

numerous studies that confirm the ability of L-arginine supplementation to increase muscle blood

flow in forming his opinion. Among those studies are the following:

   •   Monti LD, et al., 2013. The results of this study indicate that dietary supplementation of

6.6. g arginine in the form of a biscuit or pure powder similarly increased concentrations of L

arginine (at 90-240 mm), nitrite plus nitrate (at 120 mm), and cGMP (at 60 mm) in the plasma of

healthy subjects by 55%, 42%, and 48%, respectively, when compared to the placebo group.

Additionally, the rate of forearm blood flow in the subjects supplemented with arginine powder

was increased by 28% and 25% at 120-125 and 180-185 mm post administration, respectively.

The values of skeletal-muscle blood flow were similar between arginine-enriched biscuit and

arginine-powder groups. Taken together, the findings support the notion that dietary arginine

supplementation enhances muscle blood flow in healthy adults

   •   Marchesi S, et al., 2001. Oral L-arginine administration attenuates postprandial

endothelial dysfunction in young healthy males. J. Clin. Pharma. Ther. 26:343-349.

                                                       21
   Study information: Seven young (23.3 years) healthy males, physically active, without

cardiovascular risk conditions, consumed breads and grains daily, and fish and poultry weekly.

Olive oil was the principal fat, and their total fat consumption ranged between 25% and 35% of

energy intake, with saturated fats providing no more than 8% of total calories.            After an

overnight fast, a high fat load was administrated and then flow-mediated vasodilation of the

brachial artery in the upper arm was measured at baseline and 2, 4 and 6 h. This provided data on

the rate of muscle blood flow before arginine supplementation. Thereafter, the study subjects

continued to consume the same diets and received oral administration of 6 g arginine (2 g vial
                                         th
                                         11
three times a day) for 10 days. On the        day, after an oral fat load, flow-mediated vasodilation

of the brachial artery in the upper arm was measured at baseline and 2, 4 and 6 h.

    Major results and comments: The rate of muscle blood flow was markedly reduced at 2 and

4 h after an oral fat load, which was associated with an increase in plasma concentrations of

triglycerides. Compared with the value at 2 h after an oral fat load, arginine supplementation

increased the rate of muscle blood flow by 2-fold at 4 and 6 h. Importantly, compared with the

value for the pre-supplementation, oral administration of arginine greatly enhanced the rate of

muscle blood flow by nearly 100%. These results indicate that the oral administration of arginine

into healthy subjects consuming a high-fat diet enhances muscle blood flow. Note that Marchesi

et al. (2001) studied the effect of a diet enriched L-arginine on endothelial function in healthy

young subjects. The study concluded that 6 g of daily L-arginine supplementation improved

blood flow, as measured by flow mediated vasodilation (“FMV”) in the brachial artery. Dr.

Campbell makes no reference to this study in his Report, and apparently did not consider it in

forming his opinions. A trne and correct copy of this study is attached as Exhibit      to this

report.




                                                  22
    •   Alveres et al., 2012, which is mentioned by Dr. Campbell in his Report
                                                                        , also confirmed
                                                                        4

the ability of L-arginine supplementation to increase muscle blood flow and/or volume. Alveres

specifically found that “oral supplementation with a single dose (6 g) of L-arg was able to

increase Mbv [muscle blood volume] during the recovery period between successive sets of

resistance exercise   .   .   .




        The studies Dr. Campbell does rely on in forming his opinion again suffer from

methodological flaws that are worth examining. The common problems with all of the above

studies are noteworthy. First, the authors failed to demonstrate that dietary supplementation with

arginine increased muscle blood flow in healthy subjects due to severe methodological problems.

Second, the authors did not determine dietary intake of any amino acids (including arginine),

polyunsaturated long-chain fatty acids, saturated long-chain fatty acids, fructose, glucosamine,

vitamin A, vitamin C, vitamin E, folic acid and calcium that are known to affect endothelial NO

synthesis (Wu and Meininger 2002). Information on dietary intakes of nutrients and other

substances is essential to interpret the authors’ data on muscle blood flow. Third, very large

variations in muscle blood flow metabolites existed among the study subjects. However, the

authors did not do statistical power calculation to calculate an appropriate sample size based on

known variation of muscle blood flow in the study subjects. Thus, the sample size in all the

studies may not be sufficient to detect statistical significance. Indeed, the number of the study

subjects in a treatment group was too small to draw a definite conclusion.

        Each of the studies relied upon by Dr. Campbell is discussed in more detail below:

        Fayh, et al. (2012). This study is flawed for the reasons articulated above. In addition,

because this study focused on the subjects with diabetes, there is little discussion regarding the

effect of L-arginine on the control group. However, the tables recording the results do indicate

an increase in blood flow for the control group who took L-arginine. For subjects in the control



  Dr. Campbell expressed the opinion that the Alveres study was a “very high quality study design,” yet
simultaneously attempts to criticize the study’s conclusion that L-arginine supplementation increased muscle blood
volume. Dr. Campbell argues that

                                                        23
group who took a placebo, their pre-exercise blood flow was 3.19 ml, while for control members

who took the L-arginine supplement, their pre-exercise blood flow was 4.14 ml. There is no

discussion in the study as to whether this is a statistically significant difference.

        Willoughby et al. (2011). This study is deficient for the reasons articulated above. In

addition, this study related to L-arginine AAKG, not pure L-arginine. More importantly, this

study did find that L-arginine AAKG did result in an increase in brachial artery blood flow

immediately after exercise. The study does not explain how long after the supplementation the

exercise session took place, or how long after supplementation blood flow was measured. As a

result, this study is unreliable and inconclusive as to the effect of L-arginine on muscle blood

flow.

        Tang et al. (2011). This study did not relate to pure L-arginine supplementation. Instead

this study compared the effects of a supplement containing ten different amino acids with a

supplement including those ten amino acids plus L-arginine. In addition, the use of glycine as

isonitrogenous control is inappropriate in nutritional studies, as recently concluded by Wang et

al. (2013), because glycine improves anti-oxidative capacity in cells and enhances NO synthesis.

Additionally, the ratio of arginine:lysine in the protein drink was 10:1.3   =   7.7:1.0. This

arginine:lysine ratio, which is twice the upper limit of 3.5:1.0 in the lumen of the small intestine,

can inhibit lysine transport by the small intestine and induces an imbalance among basic amino

acids in the body. Furthermore, the pH of this arginine-supplemented solution (2.5% arginine)

would yield a pH> 11.0, thereby severely disturbing the acid-base balance in the intestine.

Overall, the experimental design of this study was flawed, interpretation of its findings is

problematic, and no definite conclusion can be drawn to negate a potential effect of arginine on

muscle blood flow and protein synthesis.

        Fahs et al. (2008). This study acknowledged that L-arginine supplementation improves

blood flow in individuals with cardiovascular disease, diabetes, and hypertension. The

fundamental methodological flaw of this study is that it did not measure blood markers to

determine whether the L-arginine supplement provided actually increased blood levels of L

                                                   24
arginine. Without such a measurement, it is impossible to determine whether the supplement

was absorbed sufficiently to effect blood flow. In addition, the study subjects were fasted

overnight before arginine supplementation and forearm blood flow measurement were initiated.

Fasting is known to reduce endothelial NO synthesis even though arginine is present in the

circulation likely due to reduced provision of NADPH and BH4 (Wu and Meininger 2002).

Elevated levels of free fatty acids in the blood during fasting may counter an effect of arginine in

stimulating NO synthesis and thus muscle blood flow. Furthermore, under the fasting

conditions, oral administration of 7 g arginine may cause an imbalance among basic amino acids

(e.g., lysine and histidine) in plasma and tissues, leading to protein malnutrition.

Disappointingly, the authors did not determine concentrations of arginine at any time point

before or after arginine administration. Thus, it is not known whether the arginine

supplementation could sufficiently increase arginine concentration in the circulation or skeletal

muscle. Based on these concerns, there is a low level of confidence in the authors’ conclusion.

        Based on my review of the studies referenced above, and my overall experience and

expertise in the area of L-arginine, it is my opinion that Dr. Campbell’s statement that “L

arginine supplementation does not increase muscle blood flow         ...   no matter who the user

based on common human physiology” is inconsistent with the scientific research on the matter.

In addition, the scientific research on the issue of the ability of L-arginine to increase muscle

blood flow in “unhealthy” populations almost universally acknowledges this effect. This

includes most of the studies reviewed by Dr. Campbell, as well as many others:

    •   Fayh et al. 2012   —   L-arginine supplementation increased muscle blood flow in subjects

        with type 1 diabetes.

    •   Liu et al., 2009   —   L-arginine may improve vasodilation in chronic heart failure patients.

    •   Bode-Boger et al., 1998      —   L-arginine supplementation may improve vasodilation in those

        with cardiovascular disease.




                                                      25
    •   McConnel et al., 2007        —   L-arginine supplementation improves vasodilation in patients

        with hypercholesterolemia, hypertension, cardiovascular disease, congestive heart failure

        and stable angina.

    •   Lerman et al.. 1998    —   L-arginine supplementation increases vasodilation in those with

        cardiovascular disease.

    •   Hambrecht et al.. 2000       —   L-arginine supplementation increases vasodilation in those with

        chronic heart failure.

    •   Appleton et al. 2002     —   L-arginine supplementation increases vasodilation in patients with

        angina, congestive heart failure, hypertension, atherosclerosis and diabetes.



    4. Dr. Campbell’s opinion that “L-arginine supplementation does not improve erectile

        dysfunction when taken as directed” is inconsistent with the best scientific research.

        As an initial matter, Dr. Campbell’s focus on the effects of L-arginine on healthy

populations is essentially irrelevant with respect to the issue of L-arginine effects on erectile

dysfunction. By definition, those suffering from erectile dysfunction are not healthy. They are

suffering from reduced vascularity, which explains why L-arginine may improve their sexual

function. In addition, Dr. Campbell’s opinion is not based on any sound scientific studies

regarding supplementation at levels recommended by Natrol. The only study referenced by Dr.

Campbell in his Report that discusses the effect of pure L-arginine supplementation on erectile

function found that it did improve erectile function. Chen et al. (1999) studied supplementation

of L-arginine on otherwise healthy individuals with erectile dysfunction. The study found that

oral L-arginine supplementation resulted in a self-reported improvement in sexual function in

31% of the subjects treated with L-arginine.
                                 5 In addition, Dr. Campbell did not consider or

reference Zorgniotti et al. (1994). This study tested the effects of 2800 mg of oral L-arginine

(almost the precise amount recommended by Natrol for its L-arginine 3000 Erectile Function


 The Chen study also found, contrary to Dr. Campbell’s opinion, that L-arginine supplementation did increase NO
synthesis.

                                                        26
Formula) on men with erectile dysfunction and found that L-arginine supplementation increased

erectile function in 40% of the subjects, as compared with none during the placebo phase. Paroni

et al. (2012) found that a high percentage of individuals with erectile dysfunction had low

ADMAJ1-arginine ratios. This study suggests that L-arginine supplementation, which decreases

the AMDA!l-arginine ratio, would be beneficial for those suffering from erectile dysfunction.

       The other studies relied upon by Dr. Campbell are unreliable in determining the effect of

L-arginine supplementation on erectile function.

       Stanislavov et al. (2003). This study was funded by the manufacturer of the supplement

Pycnogenol, and the study was intended to evaluate the effect of L-arginine supplementation

when combined with Pycnogenol. This bias calls into question the results of the study. In

addition, the study tested very low dosages of L-arginine (1.7 g, divided into 3 doses). Natrol’s

L-arginine 3000 recommends a single 3 g dosage of L-arginine. As a result, this study has little

bearing on the effects of L-arginine, in the amount recommended by Natrol, on erectile function.

Further minimizing the applicability of this study to Natrol’s products is the fact that the study

tested arginyl-aspartate dipeptides, not pure L-arginine. Whether aspartate may affect NO

synthesis from L-arginine in endothelial cells and the whole body is unknown. Thus the results

of this study should not be interpreted to negate a beneficial role for arginine in improving sexual

function in adult subjects with ED.

       Klotz et al. (1999). This study, like the Stanislavov study, involved very low dosages of

L-arginine. This study involved supplementation with only 1.5 g of L-arginine, only half of the

dosage recommended by Natrol. As a result, this study is of limited value in determining the

effect of 3000 mg of L-arginine on erectile function. In addition, the authors did not provide

data on dietary intake of energy, any amino acids (including arginine), polyunsaturated long

chain fatty acids, saturated long-chain fatty acids, fructose, glucosamine, vitamin A, vitamin C,

vitamin E, folic acid and calcium that are known to affect endothelial NO synthesis (Wu and

Meininger 2002). In addition, the authors did not determine concentrations of arginine at

baseline or at any time after oral administration of arginine. Thus, it is not known whether the

                                                 27
arginine treatment may sufficiently increase arginine concentration in the plasma. Furthermore,

the timing of oral arginine administration was not described. Thus, whether supplementation

with one dose (0.5 g) of arginine before an attempt of sexual intercourse may be effective in

increasing arginine concentration in plasma was not determined in the study. Finally, the authors

did not do statistical power calculation to calculate an appropriate sample size for the study. As

a result, there is a low overall confidence in the author’s conclusions.

        In sum, there are numerous studies that report that L-arginine supplementation in

amounts recommended by Natrol can improve erectile function. Dr. Campbell simply

disregarded these studies, and focused instead on studies that tested substantially lower doses of

L-arginine.

   5. Dr. Campbell’s Opinion that “L-arginine supplementation does not improve

        endurance performance” is inconsistent with the best scientific research.

        Dr. Campbell admits that in forming this opinion, he reviewed only four studies, and all

   of those studies were limited to healthy individuals. As a result, Dr. Campbell’s opinion

   must be limited to healthy individuals.

        With respect to healthy individuals, Dr. Campbell’s opinion again simply ignores studies

   that come to the opposite conclusion. For example, Santos et al. (2002) conducted a study to

   determine the effect of 3 g of oral L-arginine on endurance. The study reported that “the

   main discovery of this study indicates that treatment by oral administration of arginine leads

   to an increase of the capacity of resistance to muscle fatigue.” Bailey et al. (2010) found that

   supplementation with L-arginine (along with trace amounts of other amino acids in amounts

   not expected to affect performance) reduced the 02 cost of low-intensity exercise and

   increased the time to failure in severe intensity exercise.

        The studies that Dr. Campbell does rely upon suffer from substantial methodological

    flaws that call into question their conclusions:

    •   Vanhatalo et al., 2013   —   This study is flawed for the reasons articulated above. In

        addition, the authors admit that they relied on a testing protocol that was not as

                                                    28
    ecologically valid as another potential protocol. Importantly, this study also concluded

    that “we cannot exclude the possibility that L-arginine may enhance NO synthesis and

    exercise tolerance in other populations, such as older people or those with poor aerobic

    fitness or cardiovascular health.”

•   Campbell et al. 2006       -   This study tested L-arginine AAKG, rather than pure L-arginine,

    limiting the applicability of its conclusions. In addition, the study acknowledged that its

    results may have been effected by its use of well-trained, resistance trained subjects. The

    authors also concede that providing the subjects with orange juice may have impacted the

    results of the study. Further concerns over the study are noteworthy. First, in contrast to

    the authors’ claim, it is unlikely that the subjects were randomly assigned into the study,

    because there were 20 subjects in the AAKG group but only 15 subjects in the placebo.

    Second, the authors did not do statistical power calculation to determine an appropriate

    sample size. Third, the authors provided no data on dietary intakes of protein, amino

    acids, fat and other nutrients. Fourth, the subjects performed aerobic exercise under

    fasting conditions which could reduce muscle function and did not appear to receive

    arginine supplementation at least 18 hours prior to the exercise and throughout the

    exercise period. Fifth, in study 2 (exercise performance), the authors did not determine

    concentrations of arginine in the plasma of any subjects.

•   Greer et al., 2011   —   With respect to the methodology, there were numerous problems with

    this study. First, subjects who took protein supplement were not excluded from the

    study. Second, variations of the measured parameters among the study subjects were

    very large (e.g., up to 4-fold differences), but the authors did not do any statistical power

    calculation to determine an appropriate sample size. It is unlikely that a small number of

    12 subjects is sufficient to detect statistical significance. Third, the authors did not

    provide the necessary information on (1) dietary intakes of protein, amino acids, fat, or

    other nutrients; and (2) the time of oral arginine administration relative to performing

    exercise. Fourth, the authors did not determine concentrations of arginine in plasma or

                                                   29
       serum at any time point before or after arginine supplementation. Thus, it is not known

       whether the study subjects complied with the research protocol and whether arginine

       supplementation could sufficiently increase the concentration of arginine in their plasma.

       Finally, the authors admitted that “because of budgetary restraints, the ingredients of the

       supplement were not confirmed via an independent laboratory analysis, and, therefore,

       quality control could be a confounding factor”. Thus, due to these concerns, there is a low

       level of confidence in the authors’ conclusion.

   •   Liu et al., 2009   —   This study is flawed for the reasons articulated above. In addition, the

       authors concede that the results may have been skewed by their use of elite athletes as

       subjects. This study also concedes that L-arginine supplementation will benefit subjects

       with hypertension or chronic heart failure.

   In sum, there are numerous studies that report that L-arginine supplementation will increase

exercise endurance, none of which were considered by Dr. Campbell. In addition, the studies

that he does rely on are unreliable based on substantial methodological flaws. As a result, Dr.

Campbell’s opinion regarding the effect of L-arginine supplementation on exercise endurance is

inconsistent with the best scientific research.

    6. Dr. Campbell’s Conclusion that “none of the claims made by the Defendant about

       its product find any support in established science, and are refuted by this science

           no matter who the user is       ...   based on common human physiology” is

       inconsistent with the best scientific research

       As discussed at length above, there is substantial scientific evidence supporting the

effects of L-arginine on healthy populations, including increased NO synthesis and increased

muscle blood flow, as well as improvement in erectile function. In addition, there are numerous

studies that establish that L-arginine supplementation can increase NO synthesis and muscle

blood flow in “unhealthy” populations. As a result, Dr. Campbell’s “global conclusion” is

contradicted by substantial scientific evidence.



                                                      30
Global Conclusion

       The studies cited by Dr. Campbell to support his views are beset with severe deficiencies

in the design and data interpretation. This casts reasonable doubt on his conclusion that dietary

L-arginine supplementation does not have any beneficial effect in adult humans, no matter who

the user is. Results from well-designed studies indicate that oral administration of L-arginine

within the physiological range may confer benefits, including increasing NO synthesis in the

vasculature, muscle blood flow, and sexual function of healthy and unhealthy individuals, to

varying degrees depending on a number of factors, including age, baseline L-arginine and

ADMA levels, dietary L-arginine and protein intakes, and levels of physical activity. The best

scientific evidence available to date supports the notion that L-arginine offers promise in

improving the health and well-being of both men and women, healthy or unhealthy, young or

old.




Dated: November 25, 2013


By:______________________
     Dr. Guoyao Wu




                                                31
                                                        EXHIBIT A


                         CURRICULUM VITAE OF GUOYAO WU



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PROFESSIONAL EXPERIENCE:

Assistant Professor (10/1991 8/1996)
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M.Sc, Animal Biochemistry, 5/1984              -   8/1986             University of Alberta
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Ph.D., Animal Biochemistry, 9/1986             -   7/1989             University of Alberta, Alberta, Canada

Postdoc, Nutrition & Diabetes, 7/1989              -   7/199 1        McGill University Medical School
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Postdoc, Biochemistry, 7/1991        -   10/1991                      Memorial University Medical School
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Research Interests               Biochemistry, Nutrition and Physiology of Amino Acids and
                                 Protein; Nutritional Biochemistry and Physiology; Comparative
                                 Nutrition; Growth and Development of Animals; Biology and
                                 Pathobiology of NO and Polyamines; Diabetes, Obesity and
                                 Cardiovascular Complications; Fetal Nutrition and Metabolism;
                                 and Animal Models of Human Diseases.

B.Sc Research                    Supervisor: Prof. Yong-Lu Li and Prof. Gang Han
(1/1982 7/1982)
        -                        Lactating and reproductive performance of cows in heat stress.
                                 South China Agricultural University, Guangzhou, China

MSc Research                     Supervisor: Prof. Sheng Yang
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        -                        Ileal amino acid digestibility in growing pigs.
                                 Beijing Agricultural University, Beijing, China

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        -                        Leucine degradation in chick skeletal muscle.
                                 University of Alberta, Edmonton, Alberta, Canada

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        -                        The BB rat as an animal model of type I diabetes.
                                 McGill Nutrition Center and Department of Medicine
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Postdoctoral                     Supervisor: John T. Brosnan, Ph.D.
      (7/199 1   -   10/199 1)   Arginine metabolism in macrophages.

                                 Department of Biochemistry
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Further Training                 Advisor: Malcolm Watford, Ph.D.
(8/1992)                         Measurement of glutaminase mRNA levels in chick tissues.
                                 Department of Nutritional Sciences, Rutgers University
                                 New Brunswick, New Jersey, USA

Further Training                 Advisor: Michael L. McDaniel, Ph.D.
(11/1993)                        Isolation of rat pancreatic islets.
                                 Department of Pathology, School of Medicine
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Sabbatical Leave                 Fat Biochemistry and Nutrition
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        —                        University of Maryland School of Medicine, Baltimore, MD, USA

Principal Investigator           Laboratory of Amino Acid & Protein Biochemistry and Nutrition
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                  Texas A&M University, College Station, TX, USA
TEACHING OF UNDERGRADUATE AND GRADUATE COURSES:

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   Faculty ineniber      ANSC/NUTR 601: General Animal Nutrition (Fall, 1992-1995;
   2003)
Texas A&M Univ.       ANSC/NUTR 603: Experimental Nutrition (Fall, 1992 1994)      -



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             —        ANSC/NUTR 613: Protein Metabolism (Spring, 1995 present) -



                      ANSC 685: Problems in Animal Science (1993 present)
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                      ANSC/NUTR 689: Protein Metabolism (Spring, 1992 1994)    -



                      ANSC/NUTR 689: Physiological Chemistry (Fall 1995)
                      ANSC/NUTR 691: Research (1992 to present)
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                      NUTR 681: Nutrition Seminar (1992-1993; 2002 present)-




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                      ANSC 485: Problems in Animal Science (1996 to present)
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DIRECTION OF GRADUATE STUDENTS:

Chair:                Bremer, Cami (M.S. in Nutrition, 9/1994 to 5/1997)
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                      Rezaei, Reza (Ph.D. in Nutrition, 1/2011 to Present)
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                    McPherson, Rebecca L. (M.S., Texas Tech, 9/2001-12/2003)
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                    Popovic, Natasa (M.S. in Nutrition, 9/2000 5/2003)
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                    Price, PamelaT. (Ph.D. in Nutrition, 9/1995 12/1998,
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                    Reynolds, Judith A. (Ph.D. in Animal Science, 9/1993 to 8/1996)
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                    Wade, Laura (M.S. in Medical Sciences, 9/2004 5/2008)—




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                    Wu, Xin (Ph.D. in Animal Nutrition, Chinese Academy of
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                    Xu, Jing (Ph.D. in Animal Science; 8-20 12 present)
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                    Yao, Kang (Ph.D. in Animal Nutrition, Chinese Academy of
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                                                —




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                         Ying, Wei (Ph.D. in Reproductive Physiology, 1/20 1 1 to Present)
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                         Zhang, Xiaotong (M.S. in Nutrition, 9/1993 to 9/1996)
                         Zoran, Debra L. (Ph.D. in Nutrition, 9/1993 to 11/1997)

Graduate Council Representative for the Following Graduate Students:

      Chen, Fun Diang, Ph.D. in Industrial Engineering (9/1992 to 10/1995)
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      Davis, Trina J., Ph.D. in Educational Curriculum and Instruction (2/2000   —   9/2004)
      Rainer, Darrell R., Ph.D. in Chemistry (1/1992 to 4/1996)
      Sinclair, John W., Ph.D. in Mechanical Engineering (2/1996 to 5/1999)


DIRECTION OF POSTDOCTORAL FELLOWS:


       Assaad, Houssein (7/2012-present; NIH Postdoc Fellow in Nutrition and Bioinformatics)
       Bliznyuk, Nikolay (9/2009-5/20 10; NIH Postdoc Fellow in Nutrition and Bioinformatics)
               Datta, Sujay (8/2006 to 7/2008; NIH Postdoc Fellow in Nutrition and
Bioinformatics)

              Dugan, Michael E.R. (7/1993 to 10/1994)

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       Li, Peng (9/2006 to 12/2008)
       Satterfield, M. Carey (1/2008 to 11/2009)
       Tekwe, Carmen D. (8/2010-12012; NIH Postdoc Fellow in Nutrition and Bioinformatics)
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DIRECTION OF VISITING SCHOLARS:

       Barber, Anjee (San Diego State University, 10/2011; USA)
       Bergeron, Nadia (9/2010 11/2010; Laval University, Quebec, Canada)
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       Chen, Alex F. (10/1995; Southern Illinois University School of Medicine, USA)
               Chen, Lixiang (10/2005 to 10/2006; China)

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       Dai, Zhaolai (2/2009 to 3/2010; China)
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       Kong, Xiangfeng (2/2008 to 1/2009; China)
       Lei, Jian (4/2010—5/2-11; China)
       Lin, Gang (9/2012 present; China)
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       Mahata, Maria Endo (10/2011 11/2011, Indonesia)
                                         —




       Rizal, Yose (9/2009 11/2009; Indonesia)
                             —




       Ruan, Zheng (10/2012 present; China)
                                 -




       Tan, Bie (2/2008 to 1/2009; China)
       Wang, Junjun (11/2005 to 12/2006; 10/2009 to 11/2010; China)
       Wang, Xiuqui (2/2012 to present; China)
       Wu, Zhenlong (1/2012 to 3/2012; China)

                                             36
         Xi, Pengbin (4/2009 to 5/20 10; China)
         Yang, Haipeng (2/2011 6/2011; China)
                                  -




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                              -




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Davidson, Ryan Farmer, Lisa Felder, Nick Flynn, Sean Flynn, Jocelyn Galland, Jennifer George,
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Palacios, Mary Park, Kristi Parker, Garrett Parsons, Jessica Ransonet, Elizabeth Riley, Sue Sinn,
Felipe Troll, Melissa White, Linda Zang

COMMITTEE WORK AT TEXAS A&M UNIVERSITY:

Member:         The Strategic Planning Task Force, Faculty of Nutrition (8/1993).

Chair:          The Curriculum Committee, Faculty of Nutrition (11/1993-11/1996; 2008-).

Ex officio:     Executive Committee, Faculty of Nutrition (5/1994 to 11/1996).

Chair:          Faculty of Nutrition Seminar Committee (1992-1993; 2002-2003).

Member:         Executive Committee, Faculty of Nutrition (2/2003 to 2/2006).

Member:         Texas A&M University Laboratory Animal Care Committee (9/1996 to 9/1998).

Coordinator: Kleberg Animal Facilities, College of Agriculture and Life Sciences, Texas A&M
             University (9/1996 to 1/2005).

Member:         Grant Review Panel, Texas A&M University Interdisciplinary Research
                Initiatives Program (11/1998 to 5/2000).

Member:         Implementation Team for Establishing a New Department of Nutrition and Food
                Sciences at Texas A&M University (9/2001 to 10/2002).

Member:         Selection Committee for TAES Faculty Fellows, Texas A&M University
                (2004 and 2005)


Member:         Committee for Mentoring New Faculty Members, Department of Animal Science,
                Texas A&M University (2005 Present)
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Member:         Executive Committee, Faculty of Nutrition (2/2008 to 1/2012).

Member:         Executive Committee, Faculty of Reproductive Biology (8/2008 to present).

Member:         Implementation Team for Moving Faculty of Nutrition to Department of Nutrition
                and Food Sciences at Texas A&M University (9/20 10 to 8/20 11)


                                                  37
Member:       Texas A&M University Transportation Service Committee (9/2012 to present)

Member:       Selection Committee for Texas A&M University Faculty and Staff Distinguished
              Achievement Awards (2013)

PROFESSIONAL ACTIVITIES:

Professional Society Memberships:

Member, American Association for the Advancement of Science (3/1994 to present; #20082329)
Member, American Diabetes Association (6/1994 to 5/1999)
Member, American Heart Association Vascular Biology Scientific Council (1998 to present;
   AHA membership # 100001515488)
Member, American Physiological Society (4/1995 to 2001)
Member, American Society of Nutrition (5/1992 to present)
Member, American Society of Animal Science (1/1993 to present)
Member, Biochemical Society (London, UK) (9/1992 to 12/2005)
Member, Canadian Society for Nutritional Sciences (7/1990 to 12/1996)
Member, Juvenile Diabetes Research Foundation (8/1992 to present)
Member, Society for the Study of Reproduction (11/1996 to present)

Editorial Boards:

Member, Editorial Advisory Board, The Biochemical Journal, London, UK (1/1993 12/2005).
                                                                                   —




Member, Editorial Board, The Journal of Nutrition, USA (6/1997 6/2003).
                                                                  —




Member, Editorial Board, Asian-Australasian Journal of Animal Science (1/2003 12/2009).
                                                                               —




Member, Editorial Board, Journal of Nutritional Biochemistry (1/2006 present).
                                                                      —




Member, Editorial Board, Diabetes and Lipid Research (1/2008 present).
                                                              —




Editor, Amino Acids (3/2008 present)
                             —




Editor, Journal of Amino Acids (12/2008 present)
                                        —




Managing Editor, Frontiers in Bioscience (11/2009 present)
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Editor-in-Chief, SpringerPlus: Amino Acids Collections (10/20 12— present)

Ad hoc Reviewerfor Scientific Journals:

African Journal of Biotechnology, Amino Acids, American Journal of Clinical Nutrition,
American Journal of Physiology, Analytical Biochemistry, Animal, Animal Biotechnology,
Animal Science, Antioxidants and Redox Signaling, Asian-Australasian Journal of Animal
Sciences, Australian Journal of Agricultural Research, Biochemical Journal, Biochimica et
Biophysica Acta, Biological Research for Nursing, Biology of Reproduction, BioTechniques,
British Journal of Nutrition, Canadian Journal of Physiology and Pharmacology, Clinical and
Investigative Medicine, Clinical Biochemist Review, Clinical Nutrition, Clinical Science,
Comparative Biochemistry and Physiology, Current Vascular Pharmacology, Diabetes,
Diabetologia, Domestic Animal Endocrinology, Electrophoresis, European Journal of
Biochemistry, Experimental Biology and Medicine, FASEB Journal, Food Chemistry, Frontiers
of Bioscience, Gastroenterology, Gene, Hippocampus, Hormone and Metabolic Research,
International Journal of Obesity, Journal of Agricultural and Food Chemistry, Journal of Animal
Science, Journal of Animal Science and Biotechnology, Journal of Amino Acids, Journal of
Applied Physiology, Journal of Cellular Physiology, Journal of Chromatography, Journal of
Clinical Investigation, Journal of Dairy Research, Journal of Endocrinology, Journal of
Molecular and Cellular Cardiology, Journal of Neurochemistry, Journal of Nutrition, Journal of
Nutritional Biochemistry, Journal of Nutritional Science and Vitaminology, Journal of
Physiology (London), Journal of Pineal Research, Journal of Proteome Research, Journal of
Vascular Research, Life Sciences, Livestock Science, Metabolism, Nature Protocols,

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Neuroscience Letters, NO: Biology and Chemistry, Nutrition, Physiology & Behavior, PLoS
One, Poultry Science, Proceedings of the National Academy of Sciences USA (PNAS),
Regulatory Peptides, Reproduction, Reproduction-Nutrition-Development, and ScienceAsia

Ad hoc External Grant Reviewer:

Alberta Heritage Foundation For Medical Research, Alberta, Canada (11/2000); American
Association for the Advancement of Science (1/2009); American Heart Association (2002-
present); Austria Science Foundation (7/2003); Banting and Best Centre, University of Toronto,
Canada (4/1995 and 6/2000); Biotechnology and Biological Science Research Council, U.K.
(2007 and 2008); Canadian Diabetes Association, Ottawa, Canada (11/1993); Changjiang
Scholar Award Program, The Ministry of Education of China (2009 to present); International
Foundation for Science, Sweden (4/2004 and 2006); Medical Research Council of Canada
(11/1993); Israel National Science Foundation (5/2009), National Natural Science Foundation,
China (2004-2008); National Science Foundation, USA (2003-2006); Natural Science and
Engineering Research Council (NSERC), Ottawa, Canada (2003; 2006); The Hospital for Sick
Children Foundation; USDA!NRI (Human Nutrition Program, 1996); The Michael Smith
Foundation for Health Research, British Columbia, Canada (2/2004); The Ministry of Science
and Technology of China’s 973 Basic Research Program (2003); One-Thousand-People Talent
Program, the Central Government of China (5/2011-present); United States Israel Binational
                                                                             -




Science Foundation (2nd Round Review, 9/2011); USDA!NRT (Animal Growth and
Development Program, 2000-2008); USDA/NRI (Animal Reproduction Program, 2001-2008);
USDA/ARS Human Nutrition NP-107 Program (9/2003).

Panel Member ofNational and International Grant Review Committee:

Member, Fulbright Senior Scholar Specialist Review Committee Life Sciences, Council for
                                                                   —




International Exchange of Scholars, Washington, D.C. (2003 to 2005)

Panel Member, USDA/NRI, Animal Growth and Nutrient Utilization (2004, 2005, and 2006)

Panel Member, National Natural Science Foundation of China    —   The Key Research Program of
Life Science (2006 and 2007)

Panel Member, National Natural Science Foundation of China   —    The General Research Program
of Animal Science and Veterinary Medicine (2006 and 2007)

Panel Member, NIH Intramural Research, Site Visit Team for Evaluation of the National Cancer
Institute-NIH Laboratory of Comparative Carcinogenesis, Frederick, MD (May 15-17, 2006).

Panel Member, NIH, Pregnancy and Neonatology Study Section (2007 and 2008).

Panel Member, American Heart Association National Research Program (2010         —   present)

Panel Member, NIH, Conference Grants Review Committee (2010).

Panel Member, NIH, Special Study Section on Dietary Influence on Human Health (2011).

Changjiang Scholar Award Program, The Ministry of Education of China


Activities ofScientific Societies:

Member, Steering Committee on Macronutrient and Energy Metabolism, American Society for

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Nutritional Sciences (5/200 1 to 5/2003)

         Elected Member, Nominating Committee, American Society for Nutritional Sciences
(2004)


Member, Mead Johnson Award Jury, American Society for Nutrition (2005)

Member, Non-Ruminant Nutrition Award Jury, American Society of Animal Science (2005 to 2008)

Member, Omega Protein Innovative Research Award Jury, American Society of Animal Science
(2006 to 2009)

         Member, Predoctoral Fellowship Award Jury, The American Society for Nutrition (2006-
2009).


       Member, Judging Committee of Graduate Student Research Competition, The American
Society for Nutrition (2006-2009).


Member, Dannon Institute Mentorship Award Jury, American Society for Nutrition (2006).

Member, Excellence in Teaching Award Jury, American Society for Nutrition (2006).

Member, ASAS/ASN 2013 Innovate Award Selection Committee (2013)


Organization of National and International Conferences

Co-Chair, Amino Acid Metabolism Symposium, Experimental Biology, American Society for
Nutritional Sciences (April 2002)

Chair of the Metabolic and Other Lessons session, The BB Rat Symposium, Ottawa, Canada,
December 2-4, 2004.

Co-Chair, Animal models of fetal growth and nutrition research, The Aspen Symposium, Aspen,
CO, August 26-29, 2007.
                                                       th
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Chair, Symposium on Amino Acids and Fetal Growth,           International Conference on Amino
Acids, Vienna, Austria, August 3-7, 2009.

Co-Chair, Gentech International Nutrition Symposium, “Intestinal amino acid metabolism:
thinking out of the box”, Shanghai, China (October 13-15, 2010).

Chair, International Symposium on Maternal Nutrition and Fetal Growth, China Agricultural
University, Beijing (May 20, 2011)

Chair, Symposium on Functional Amino Acids in Nutrition and Health, 12       th1
                                                                                 International
Conference on Amino Acids, Peptides, and Protein, Beijing, China, August 1-5, 2011.

Chair, Symposium on Recent Advances in Amino Acid Biochemistry and Nutrition, China
Agricultural University, August 6, 2011.

                                              40
Co-Chair, ASAS-Gentech Chinese Swine Nutrition Symposium, Shanghai, China (October 25-
27, 2012).

Chair, Texas Human Nutrition Conference, College Station, TX, 2012 and 2013.

President, the 13th International Conference on Amino Acids, Peptides, and Protein (Galveston,
Texas, October 5-7, 2013).

Chair, Animal Amino Acid Nutrition Symposium, the 11th World Congress of Animal
Production (Beijing, China, October 15-20, 2013)


Invited Presentations:

Faculty of Nutrition, Texas A&M University, “Endogenous Synthesis of Arginine and its
Physiological Significance”, Nov. 13, 1991

Department of Medical Physiology, Texas A&M University, “Amino Acid Metabolism in
Immunocytes and Its Physiological Significance”, Jan. 16, 1992

Department of Nutritional Sciences, Rutgers University, “Arginine Metabolism and NO
Synthesis in Macrophages and Endothelial Cells”, August 19, 1992

Faculty of Nutrition, Texas A&M University, “Arginine and glucose: nutrients or toxins for
pancreatic B-cells?”, Sept. 22, 1992

Faculty of Toxicology, Texas A&M University, “The arginine-citrulline cycle in macrophages
from the spontaneously diabetic BB rat”, Oct. 4, 1993

Nutrition and Metabolism Group, University of Alberta, Edmonton, Canada, “Amino acid
metabolism in enterocytes of the developing pig”, Feb. 28, 1994 (Supported by the Alberta
Heritage Foundation for Medical Research)

Children’s Nutrition Research Center, Department of Pediatrics, Baylor College of Medicine,
“Arginine metabolism in enterocytes of developing pigs”, Oct. 13, 1995

Nutrition and Reproduction Symposium, The Texas Agricultural Experiment Station, “Impact of
free amino acids on fetal growth of pigs”, Jan. 11, 1996

Division of Reproductive Sciences, Department of Obstetrics and Gynecology, University of
Texas Medical Branch at Galveston, “Arginine metabolism in the developing porcine fetus”,
Feb. 23, 1996

Department of Phannacology, Southern Illinois University School of Medicine (Springfield, IL),
“Arginine metabolism in mammalian cells”, June 21, 1996

Faculty of Nutrition, Texas A&M University, “Development of arginine synthesis in enterocytes
of fetal and postnatal pigs”, Nov. 5, 1996

Children’s Nutrition Research Center, Department of Pediatrics, Baylor College of Medicine,
“Maternal protein deficiency and fetal amino acid metabolism”, March 20, 1997

Texas Forum on Female Reproduction, Institute of Biosciences and Technology, Houston, “NO

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synthase activity in porcine placenta and endometrium during gestation”, May 16, 1997

Cargill Inc. (Minneapolis, MN), “Impact of intestinal amino acid metabolism on animal nutrient
requirements”, Jan. 19-21, 1999.

Reproduction Forum, Texas A&M University, “Placental NO and polyamine synthesis during
early gestation in pigs”, Sept. 8, 2000.

Faculty of Nutrition, Texas A&M University, “Glucosamine and NO synthesis”, Oct. 16, 2001.

Department of Animal Science, Texas Tech University, “Arginine nutrition in gestating
pigs”, Feb. 27, 2002.

Institutes of Biological Sciences, Chinese Academy of Sciences, Shanghai, China, “Roles of
arginine nutrition and metabolism in health and disease”, April 19-24, 2002.

Department of Animal Science, University of Illinois at Urbana-Champaign, “Arginine
biochemistry and nutrition: from milk composition to basic research and back to animal
production”, April 28, 2003.

Faculty of Nutrition, Texas A&M University, “The pathway to the discovery of arginine
deficiency in milk-fed piglets”, Sept. 16, 2003.

United Feeds, Indiana, “New concepts of arginine nutrition in animals”, Oct. 30, 2003.

Department of Animal Science, Texas A&M University, “New excitement for an ‘old’ amino
acid”, Nov. 19, 2003.

American Society of Animal Science       —Midwestern section, “Role of NO in amino acid
nutrition”, Des Moines, Iowa; March 15, 2004.

International Arginine Symposium, “Arginine nutrition in neonatal pigs”, Bermuda, April 5-6,
2004.

International Swine Symposium, “Role of amino acids in pregnancy and postnatal growth of
pigs”, Texas Tech University, July 16-17, 2004.

First International Symposium on Proline, “Role of proline in arginine and polyamine syntheses
in animal cells”, National Cancer Institute, NIH, Frederick, MD, October 11-12, 2004.

Advantages of Agriculturally Important Domestic Species as Biomedical Models, “The pig and
sheep as animal models for nutrition research”, Michigan State University, East Lansing, MI,
October 29-3 1, 2004.

The BB Rat Symposium, “The arginine-NO pathway: a lesson from the BB rat”, Ottawa,
Canada, December 2-4, 2004.

Department of Animal Science, University of Maryland (College Park, MD), “Arginine nutrition
in piglets”, March 9, 2005.

Department of Nutritional Sciences, Rutgers University (New Brunswick, NJ), “NO and
diabetes”, April 12, 2005.

Department of Medicine, University of Maryland (Baltimore, MD), “Role of arginine in

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reducing fat mass”, May 19, 2005.

EURO Conference on Nutrition, Immune Functions and Health, Institut Pasteur, Paris, France,
“Nutritional regulation of NO synthesis and its implications for health”, June 9-10, 2005.

China Agricultural University (Beijing, China), Lectures on “Amino Acid Nutrition and
Metabolism in Pigs”, July 3-9, 2005.

Institute of Subtropical Agriculture, The Chinese Academy of Sciences (Changsha, China),
“Regulation of N-acetylglutamate synthase expression in pig enterocytes”, July 11, 2005.

        American Feed Industry Association Expo-2005, Nonruminant Nutrition, “Amino acid
nutrition during pregnancy in pigs”, Kansas City, MO, Sept. 21, 2005.


       American Feed Industry Association Expo-2005, “Arginine nutrition in neonatal pigs”,
Kansas City, MO, Sept. 21, 2005.



North Dakota State University, “Role of amino acid in fetal growth and development”, Oct. 11,
2005.

Ajinomoto Technical Seminars, “Glutamine nutrition in pigs: from basic research to swine
production”, Ajinomoto BioLatina, Sao Paulo, Brazil, November 22-24, 2005.

Piglet Milk Replacer Symposium, “Role of arginine in pig nutrition”, The Chinese Academy of
Agricultural Sciences (Beijing, China), December 16, 2005.

Institute of Nutritional Sciences, The Chinese Academy of Agricultural Sciences (Shanghai,
China), “The pig and sheep as animal models for nutrition research”, December 19, 2005.

Hunan Agricultural University, “Roles of amino acid in fetal growth and development”,
Changsha, China, December 21, 2005.

Institute of Animal Sciences, The Guangdong Academy of Agricultural Sciences, “Nutrition and
fetal growth and development in swine”, Guangzhou, China, December 25, 2005.

Nutreco Company, The Netherlands, “Arginine nutrition in high prolific sows”, Feb. 14-17,
2006.

Virgia Tech University, “Arginine nutrition in piglets”, March 1-3, 2006

American Society of Animal Science, Annual Meeting, “Recent advances in the nutrition of
arginine-family amino acids”, July 11, 2006.

China Agricultural University, “Intrauterine growth retardation: Implications for the animal
sciences”, August 5, 2006.

Institute of Subtropical Agriculture, The Chinese Academy of Sciences (Changsha, China),
“Intrauterine growth retardation: Implications for the animal sciences”, August 5, 2006.

Institute of Animal Sciences, The Guangdong Academy of Agricultural Sciences, “Maternal
nutrition and fetal growth”, August 10, 2006.

                                               43
No Name Society, North Dakota State University, “New concepts about IUGR”, Sept. 7-9, 2006

Auburn University, “Arginine nutrition in piglets”, Oct. 20, 2006.

International Arginine Symposium (Budapest, Hungary), “The safety and pharmacokinetics of
arginine in animals”, Nov. 6-7, 2006.

Canadian Nutrition Conferences, Winnipeg, Canada, “Maternal nutrition and fetal development”,
June 18-21, 2007.

China Agricultural University, “Molecular mechanisms for arginine to reduce fat mass in
animals”, August 4, 2007.

Wuhan Polytechnical University (Wuhan, China), “Role of glutamine in animal production”,
August 7, 2007.

Central China Agricultural University (Wuhan, China), “Maternal nutrition and fetal
development”, August 8, 2007.

Institute of Subtropical Agriculture, The Chinese Academy of Sciences (Changsha, China),
“New concepts about glutamine in swine nutrition and production”, August 10, 2007.

Institute of Animal Sciences, The Guangdong Academy of Agricultural Sciences, “Functional
amino acids in swine nutrition and metabolism”, August 16, 2007.

The Aspen Symposium on Fetal Growth and Development, “Roles of amino acids in fetal
growth and development”, Aspen, CO. August 26-29, 2007.

Denmark Animal Science-COST Meeting, Keynote Lecture “Intrauterine growth retardation:
implications, mechanisms, and solutions”, Viborg, Denmark. September 6-7, 2007.

Second International Symposium on Proline, “Proline metabolism in the conceptus: Implications
for fetal growth and development”, National Cancer Institute, NIH, Frederick, MD, September
10-11, 2007.

Wuhan Polytechnical University (Wuhan, China), “Undergraduate studies in the U.S.”,
December 12, 2007.

Wuhan Polytechnical University (Wuhan, China), “Role of arginine in fat metabolism”,
December 13, 2007.

Wuhan Polytechnical University (Wuhan, China), “Writing successful grant applications”,
December 14, 2007.

University of Kentucky, “A path to the vascular NO pathway in diabetes and obesity”, March 5,
2008.

The Ohio State University, “A Path to the arginine-synthetic pathway in neonatal pigs”, May 16,
2008.

Canadian Animal Nutrition Conference (Guelph, Canada), “Maternal nutrition and fetal growth”,
May 22-24, 2008.


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China Agricultural University (Beijing, China), “The vascular arginine-NO pathway in diabetes
and obesity”, July 15, 2008.

China Agricultural University (Beijing, China), “Role of the small intestine in neonatal
nutrition”, July 15, 2008.

Institute of Animal Sciences, The Guangdong Academy of Agricultural Sciences (GuangzhOu,
China), “Intestinal amino acid metabolism and nutrition”, July 28, 2008.

Food Science Institute, Nanchang University (Nanchang, China), “Arginine nutrition in neonatal
pigs”, July 30, 2008.

Institute of Subtropical Agriculture, The Chinese Academy of Sciences (Changsha, China),
“Utilization of amino acids in swine nutrition and production”, August 1, 2008.

Wuhan Polytechnical University (Wuhan, China), “Role of the gut in neonatal nutrition”, August
4, 2008.

Wuhan Polytechnical University (Wuhan, China), “Nutrition and immune response in animals”,
August 5, 2008.

University of New Mexico School of Medicine, “Arginine biochemistry and nutrition in neonatal
pigs”, October 2008.

China Ocean University (Qingdao, China), “Regulation of NO synthesis by dietary factors”,
August 12, 2008.

Sixth International Conference of Domestic Animal Endocrinology (Roanoke, Virginia), “Amino
acids impact fetal growth”, November 14-17, 2008.

III CONGRESO CLANA (Congress of Latin America Animal Nutrition) (Cancun, Mexico),
“Intrauterine growth retardation in livestock: Implications, mechanisms, and solutions.
November 18-21, 2008.

Baylor College of Medicine/Texas Medical Center (Houston, TX), “A path to citrulline- and
arginine-synthetic pathways in neonatal enterocytes”, February 26, 2009.

Oklahoma State University, Department of Biochemistry and Molecular Biology, “The Roger E.
Koeppe Endowed Lecture: A Pathway from glutamine and glutamate to arginine: nutritional
significance for neonates”, April 10, 2009

The International Feed Science Conference, “Functional Amino Acids in Swine Nutrition and
Production”, Lelystad, The Netherlands, May 12, 2009

Iowa State University, Summer Lectureship on “Protein Metabolism”, Ames, Iowa, June 1-5,
2009

China Agricultural University, Changjiang Scholar Lectureship on “Protein Metabolism” (June
23-24, 2009)

USDA-National Renderers Association (NRA) Swine Nutrition and Feed Safety Technical
Seminars, “Recent Advances in Swine Amino Acid Nutrition”, July 2, 2009, Beijing, China.



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USDA-National Renderers Association (NRA) Swine Nutrition and Feed Safety Technical
Seminars, “Pröline and Hydroxyproline: Biochemistry and Nutrition in Animals”, July 2, 2009,
Beijing, China.

Chinese Academy of Sciences, Institute of Subtropical Agriculture, Symposium on Amino Acids
and Carhohydrates in Animal Nutrition, “Development of Functional Amino Acids in Swine
Nutrition”, July 3. 2009, Changsha, China.
th
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  International Symposium on Animal Nutrition and Health, “Recent Advances on Swine
Amino Acid Nutrition: Molecular and Functional Studies”, July 4-5, 2009. Guangzhou, China.

South China Agricultural University, “Arginine Nutrition: From Milk to Development of
Functional Amino Acids”, July 4, 2009. Guangzhou, China.

USDA-National Renderers Association (NRA) Swine Nutrition and Feed Safety Technical
Seminars, “Recent Advances in Swine Amino Acid Nutrition”, July 6, 2009, Manila, Philippines.

USDA-National Renderers Association (NRA) Swine Nutrition and Feed Safety Technical
Seminars, “Proline and Hydroxyproline: Biochemistry and Nutrition in Animals”, July 6, 2009,
Manila, Philippines.

USDA-National Renderers Association (NRA) Swine Nutrition and Feed Safety Technical
Seminars, “Recent Advances in Swine Amino Acid Nutrition”, July 8, 2009, Ho Chi Minh City,
Vietnam.

USDA-National Renderers Association (NRA) Swine Nutrition and Feed Safety Technical
Seminars, “Proline and Hydroxyproline: Biochemistry and Nutrition in Animals”, July 8, 2009,
Ho Chi Minh City, Vietnam.

American Society of Animal Science Annual Meeting, Triennial Symposium on Animal
Reproduction, “The impact of amino acid nutrition on pregnancy outcome in pigs: mechanisms
and implications for swine production”, Montreal, Canada, July 12, 2009.

Sigma Xi Spring Symposium, “Keynote Lecture: Amino acid nutrition and fetal growth”, Texas A&M
University, College Station, TX, March 22, 2010.

Experimental Biology, Symposium on Animal Models for Nutritional Research, “Amino acid
nutrition in fetal and neonatal growth: from animal studies to clinical applications”, April 23-28,
2010 (Anaheim, CA)

International Glutamate Technical Committee, “Glutamate content in foods and utilization by the
pig small intestine”, April 29, 2010 (Santa Monica)

American Society of Animal Science Annual Meeting, Triennial Symposium on Animal Growth
and Development, “Important roles for glutamine in swine nutrition and production”, Denver,
CO. July 11,2010.

Inner Mongolia Academy of Agricultural Sciences, “Intestinal amino acid metabolism:
significance in animal feeding”, Hohhot, Inner Mongolia, China (August 4, 2010) (Supported by
the Foreign Experts Bureau of China)

Inner Mongolia Academy of Agricultural Sciences, “Roles of amino acids in fetal growth and
development”, Hohhot, Inner Mongolia, China (August 5, 2010) (Supported by the Foreign
Experts Bureau of China)

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Inner Mongolia Agricultural University, “Glutamine as a functional amino acid in animal
nutrition”, Hohhot, Inner Mongolia, China (August 6, 2010)

Wuhan Polytechnical University, “Glutamine: a story for the development of functional amino
acid in animal nutrition”, Wuhan, China (August 17, 2010)

Chinese Academy of Sciences, Institute of Subtropical Agriculture, “The arginine-NO pathway
in diabetes and obesity”, Changsha, China (August 19, 2010)

The 3ft1 International Symposium on Energy and Protein Metabolism, Keynote Lecture
“Biochemical and physiological limitations to efficiency of amino acid utilization for animal
growth”, Parma, Italy (September 6-10, 2010)

The 31
     st
         Western Nutrition Conference, The J.M. Bell Memorial Lecture “Functional amino
acids: new developments and important implications for animal nutrition”, Saskatoon, Canada
(September 22, 2010)

The 3 1st
          Western Nutrition Conference, “Impacts of maternal nutrition on embryonic/fetal
survival and development”, Saskatoon, Canada (September 23, 2010)

Gentech International Nutrition Symposium, “Intestinal amino acid metabolism: thinking out of
the box”, Shanghai, China (October 13-15, 2010)

Third International Symposium on Proline, “Fetal programming of proline metabolism in the
small intestine”, Lincoln, Nebraska (November 7-9, 2010)

Seoul National University (Seoul, Korea), “Amino acid nutrition and pregnancy outcomes” (May
16, 2011)

Wuhan Polytechnical University, “Regulation of intestinal protein turnover by glutamine”,
Wuhan, China (May 24, 2011)

Institute of Animal Sciences, The Guangdong Academy of Agricultural Sciences (Guangzhou,
China), “Advances in swine amino acid nutrition” (May 26, 2011)

South China Agricultural University, “New developments in swine arginine nutrition” (May 26,
2011)
th
12
     International Conference on Amino Acids, “Functional Amino Acids in Nutrition and
Health”, Beijing, China (August 3, 2011)

Symposium on Recent Advances in Amino Acid Biochemistry and Nutrition, “New Aspects of
Amino Acid Biochemistry and Nutrition”, China Agricultural University (August 6, 2011)

Inner Mongolia Academy of Agricultural Sciences, “Efficiency of amino acid utilization by
animals: biochemical and physiological bases”, Hohhot, Inner Mongolia, China (August 8, 2011)
(Supported by the Foreign Experts Bureau of China)

Wuhan Polytechnical University, “Regulation of intestinal protein turnover by glutamine”,
Wuhan, China (May 24, 2011)

     International Conference on Amino Acids, “Functional Amino Acids in Nutrition and

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Health”, Beijing, China (August 3, 2011)

Symposium on Recent Advances in Amino Acid Biochemistry and Nutrition, “New Aspects of
Amino Acid Biochemistry and Nutrition”, China Agricultural University (August 6, 2011)

Cargill Conference on Biological Modeling in Animal Nutrition, “Quantitative analysis of amino
acid metabolism in the small intestine: Implications for nutrition and health”, Elk River, MN
(August 23-25, 2011)

State Key Animal Nutrition Laboratory Conference, “Arginine nutrition in mammalian
reproductive function”, Beijing, China (January 5-7, 2012)

European Pediatric and Enteral Nutrition Conference, “Syithesis and catabolism of amino acids
in the lactating mammary gland”, Stockholm, Sweden (April 26-28, 2012)

Wuhan Polytechnical University, “Research advances in nutritionally nonessential amino acids
in animal nutrition”, Wuhan, China (June 16, 2012)

International Symposium on Animal Nutrition, Chinese Academy of Sciences, Institute of
Subtropical Agriculture, “Dietary requirements of indispensable amino acids by swine”,
Changsha, China (June 20, 2012)

Institute of Animal Sciences, The Guangdong Academy of Agricultural Sciences (Guangzhou,
China), “Amino acid nutrition in lactation”, June 22, 2012

South China Agricultural University, “Glutamine synthesis in lactating mammary tissue:
pathways and nutritional significance”, June 22, 2012

Feed Science and Technology Symposium, Sponsored by the U.S. National Renderer’s
Association (Asia Office), South China Agricultural University, “Amino acid nutrition: the past,
present, and future”, July 13, 2012

Feed Science and Technology Symposium, Sponsored by the U.S. National Renderer’s
Association (Asia Office), South China Agricultural University, “Analysis of amino acids in
feedstuffs”, July 13, 2012.

Ministry of Agriculture Feed Industry Center, China Agricultural University (Beijing, China),
“The use of arginine and N-carbamoylglutamate in improving reproductive performance of
gestating swine”, July 19, 2012

China Animal Nutrition Annual Meeting, “Amino acid nutrition: the past, present, and future”,
Changsha, China, October 23, 2012

ASAS-Gentech China Swine Nutrition International Nutrition Symposium, “Arginine nutrition
and reproductive performance in gestating sows”, Shanghai, China (October 25, 2012)

ASAS-Gentech China Swine Nutrition International Nutrition Symposium, “Dietary
requirements of nutritionally nonessential amino acids”, Shanghai, China (October 26, 2012)

Gentech China Swine Nutrition Conference, “Dietary requirements of amino acids for lactating
sows”, Shanghai, China (October 26, 2012)

Inner Mongolia Academy of Agricultural Sciences, “History of amino acid nutrition research”,
Supported by the Foreign Experts Bureau of China (October 29, 2012)

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Inner Mongolia Academy of Agricultural Sciences, “Synthesis of glutamine and glutamate by
lactating sows (October 29, 2012) (Supported by the Foreign Experts Bureau of China)

9th International Conference on Pig Reproduction, “Maternal and fetal amino acid metabolism in
gestating sows”, Olsztyn, Poland (June 9-12, 2013)

China Agricultural University, Summer School Course on “Animal Nutritional Biochemistry”,
Lectures on “Comparative Animal Biochemistry and Nutrition”, “Nutrition and Cell Signaling”,
and “Methods to Determine Intracellular Protein Turnover”, July 15-18, 2013 (Funded by
Ministry of Education of P.R. China and National Natural Science Foundation of China)

South China Agricultural University, Lecture “Comparative Animal Biochemistry”, July 4, 2013.

Institute of Animal Sciences, The Guangdong Academy of Agricultural Sciences (Guangzhou,
China), “Maternal and fetal amino acid metabolism in gestating sows”, July 5, 2013

International Symposium on Animal Nutrition, Qingdao, China, “Discovery of arginine
supplementation for enhancing litter size in swine” (July 22-24, 2013)

Wuhan Polytechnical University, “Regulation of nutrient metabolism in animals”, Wuhan, China
(August 14, 2013).

Chinese Academy of Sciences, Institute of Subtropical Agriculture, “Role of nutrients in cell
signaling”, Changsha, China (August 16, 2013)

ASAS-ASN Joint Symposium: Innovate 2013, “Amino acid nutrition: protein synthesis and
beyond”, Braselton, GA, USA (September 22-24, 2013)
th
13
     International Conference on Amino Acids, Peptides and Proteins, “Introduction to
Functional Amino Acids in Nutrition and Health”, Galveston, TX, USA (October 5-7, 2013)

11th World Conference on Animal Production, Amino Acid Nutrition Symposium, “Recent
advances in amino acid nutrition in farm animals”, Beijing, China (October 15, 2013)

11th World Conference on Animal Production, “New concepts in swine protein nutrition”,
Beijing, China (October 17, 2013)

Japan Nutrition Society Annual Meeting, “Dietary requirements of ‘nutritionally nonessential
amino acids’ by mammals”, Fukuoka, Japan (Nov. 1, 2013)

Japan Pediatrics Society Conference, “Amino acid metabolism in the lactating mammary gland”,
Fukuoka, Japan (Nov. 2, 2013)

     Kumamoto Medical Bioscience International Symposium, Kumamoto, Japan




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HONORS AND AWARDS:

1.   Outstanding Student Award, South China Agricultural University, Guangzhou, Guangdong,
     China (7/1982).

2.   National Scholarship for Graduate Studies Abroad, The Ministry of Education, P.R. China
     (5/1984 5/1986).
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3.   Graduate Teaching Assistantship, University of Alberta, Edmonton, Alberta, Canada
     (9/1985 4/1988).
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4.   Graduate Research Assistantship, University of Alberta, Edmonton, Alberta, Canada
     (9/1986 4/1989).
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5.   Graduate Travel Award, University of Alberta, Edmonton, Alberta, Canada (5/1988).

6.   Andrew Stewart Graduate Prize, University of Alberta, Edmonton, Alberta, Canada
     (4/1989).

7.   Dissertation Fellowship, University of Alberta, Edmonton, Canada (5/1989 7/1989).
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8.   Research Institute Fellowship, Royal Victoria Hospital, McGill University, Montreal,
     Quebec, Canada (12/1988)

9.   Diabetes Canada Fellowship, Canadian Diabetes Associations, Toronto, Canada (5/1989).

10. Medical Research Council of Canada Postdoctoral Fellowship, Medical Research Council of
    Canada, Ottawa, Canada (8/1989 10/1991).
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11. Established Investigator, American Heart Association (1/1998 to 12/2001).

12. TAES Faculty Fellow, College of Agriculture and Life Sciences, Texas A&M University
    (1/2001).

13. University Faculty Fellow, Texas A&M University (4/2002).

       14. Nonruminant Nutrition Research Award, American Society of Animal Science

           (4/2004)


15. Outstanding Overseas Scholar Award, The Chinese Academy of Sciences (1/2005).

16. Outstanding Overseas Young Investigator Award, National Natural Science Foundation of
    China (1/2006)


17. Vice Chancellor’s Award for Excellence in Team Research, The Texas A&M University
    System (1/2006)

18. Changjiang Scholar, The Ministry of Education, P.R. China (3/2008).

19. Distinguished Research Achievement Award, Texas A&M University (4/200 8)


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20. Chutian Scholar, The Department of Education, Hubei Province, P.R. China (5/2008).

21. Vice Chancellor’s Award for Excellence in Individual Research, The Texas A&M
    University System Agriculture Program (1/2009)

22. Texas AgriLife Senior Research Fellow, The Texas A&M University System Agriculture
    Program (1/2009)

23. Dingying Scholar, South China Agricultural University, Guangzhou, China (7/2009)

24. FASS-AFLk New Frontiers in Animal Nutrition Research Award, Federation of Animal
    Science Societies and American Feed Industry Association (7/2009). This is the highest
    award for Animal Nutrition Research in the U.S.A. across the fields of Animal Science,
    Dairy Science, Poultry Science, and Companion Animals.

25. Thousand-People-Talent Award, The Central Government of China (4/2010).

26. The Samburu Collaboration Award, The International Association of Giraffe Care
    Professionals (4/2010). This award was given to the Giraffe Nutrition Workshop Team
    (May 25-26, 2005) whose work had saved hundreds of giraffe in zoos worldwide. Guoyao
    Wu was a key member of the team.

27. Vice Chancellor’s Award for Excellence in Diversity, The Texas A&M University System
    Agriculture Program (3/2011)

28. Elected Fellow, American Association for the Advancement of Science (AAAS; 11/2012)

29. Distinguished Scientist, Sigma Xi Honor Society, Texas A&M University Chapter (2013)


NATIONALLY AND INTERNATIONALLY HIGHLIGHTED PAPERS


1.   Biochemical Journal (BJ) Letters, “Methionine transamination in vivo”, Biochemical
     Journal 262: 689-691, 1989. This BJ article highlights the paper “Wu, G., and J.R.
     Thompson. 1989. Is methionine transaminated in skeletal muscle? Biochem. J. 257:281-
     284.” http://www.biochemj.org

2.   Biochemical Journal (BJ) Letters, “The possible role of glutamine substrate cycle in
     skeletal muscle”, Biochemical Journal 279: 327-328, 1991; “Glutamine transport and
     metabolism in mammalian skeletal muscle”, Biochemical Journal 285: 339-340, 1992.
     These two BJ articles highlight the paper “Wu, G., J.R. Thompson, and V.E. Baracos.
     1991. Glutamine metabolism in skeletal muscle from the broiler chick (Gallus domesticus)
     and the laboratory rat (Rattus norvegicus). Biochem. J. 274:769-774.” www.biochernj.org

3.   USDA National Research Initiative (NRI) Cover Story, “Maternal nutrition and fetal
     development”, http://www.csrees.usda.gov/fundin/nri/covers/2004 08 wu.pdf. This NRI
     cover story highlights the paper “Wu, G., F.W. Bazer, T.A. Cudd, C.J. Meininger, and T.E.
     Spencer. 2004. Maternal nutrition and fetal development. J. Nutr. 134:2169-2172.”

4.   ISI (Institute for Scientific Information), “Fast Breaking Paper by Guoyao Wu”,
     http://www.esi-topics.com.fbp/2005/june05-GuoyaoWu.htrnl. This 1ST article highlights
     the paper “Wu, G., Y.Z. Fang, S. Yang, J.R. Lupton, and N.D. Turner. 2004. Glutathione
     metabolism and its implications for health. J. Nutr. 134:489-492.”

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5.   1ST (Institute for Scientific Information), “Hot Paper by Guoyao Wu”, http://www.esi
     topics.com.ithp!2006/ianuary-06-GuoyaoWu.html. This ISI article highlights the paper
     “Wu, G., F.W. Bazer, T.A. Cudd, C.J. Meininger, and T.E. Spencer. 2004. Maternal
     nutrition and fetal development. J. Nutr. 134:2169-2 172.”

6.   USDA National Research Initiative (NRI) Research Highlight, “Modified diet may increase
     swine birthrate”, http://www.csrees.usda.gov/newsroom/impact/2008/nri/pdf7swine.pd[
     This NRT article highlights the paper “Mateo, R.D., G. Wu, F.W. Bazer, J.C. Park, I.
     Shinzato, and S.W. Kim. 2007. Dietary L-arginine supplementation enhances the
     reproductive performance of gilts. J. Nutr. 137: 652-656.”

7.   Country World Central Texas. Arginine provision increases swine birthrate, litter birth
     weight. www.CountryWorldNews.com. February 28, 2008. Page 7A.

8.   Combining expertise, liffing performance with arginine. Pig Progress 24:3 1-33; 2008


PRESS RELEASE

1.   Arginine provision increases swine birthrate and litter birth weight. Texas AgriLife
     Research. Feb. 16, 2008

2.   Arginine discovery could help fight human obesity. Texas AgriLife Research. Jan. 28,
     2009

3.   Study shows male erectile dysfunction drug enhances fetal growth in female sheep:
     Findings could have important implications for human health and agriculture. Texas
     AgriLife Research. Feb 3, 2010

4.   Functional amino acids regulate key metabolic pathways.        Texas AgriLife Research.
     November 17, 2010




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PUBLICATIONS:

Refereed Papers in Scientific Journals (SCI citations:   >   10,000 times; Hirsch index   54):

1.    Han, G., G. Wu, and Z.B. Xiao. 1983. A survey on the adaptability of New Zealand dairy
      cattle to the Shenzhen area. Guangdong Agric. Sci. (China) 5 4:24 & 31-32.

2.    Wu, G., and J.R. Thompson. 1987. The effect of fasting on leucine degradation in chick
      skeletal muscle. Can. J. Anim. Sci. 67:179-186.

3.    Wu, G., and J.R. Thompson. 1987. Ketone bodies inhibit leucine degradation in chick
      skeletal muscle. Tnt. J. Biochem. 19:937-943.

4.    Wu, G., J.R. Thompson. 1988. Effect of pyruvate, octanoate and glucose on leucine
      degradation in skeletal muscle from fed and fasted chicks. mt. J. Biochem. 20:52 1-526.

5.    Wu, G., and J.R. Thompson. 1988. Arachidonic acid, prostaglandin E     2 and F
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      leucine degradation in chick skeletal muscle. Biochem. Tnt. 16:227-234.

6.    Wu, G., and J.R. Thompson. 1988. The effect of ketone bodies on alanine and glutamine
      metabolism in isolated skeletal muscle from the fasted chick. Biochem. J. 255:139-144.

7.    Wu, G., and J.R. Thompson. 1989. Is methionine transaminated in skeletal muscle?
      Biochem. J. 257:281-284.

8.    Wu, G., J.R. Thompson, G. Sedgwick, and M. Drury. 1989. Formation of alanine and
      glutamine in chick (Gallus domesticus) skeletal muscle. Comp. Biochem. Physiol. 93B:
      609-613.

9.    Wu, G., and J.R. Thompson. 1989. Methionine transamination and glutamine
      transaminases in skeletal muscle. Biochem. 3. 262:690-691.

10.   Wu, G., and J.R. Thompson. 1990. The effect of ketone bodies on protein turnover in
      isolated skeletal muscle from the fed and fasted chick. Tnt. 3. Biochem. 22:263-268.

11.   Wu, G., and J.R. Thompson. 1990. The effect of glutamine on protein turnover in chick
      skeletal muscle in vitro. Biochem. 3. 265:593-598.

12.   Field, C.J., G. Wu, M.-D. Metroz-Dayer, M. Montambault, and E.B. Marliss. 1990.
      Lactate production is the major metabolic fate of glucose in splenocytes and is altered in
      spontaneously diabetic BB rats. Biochem. 3. 272:445-452.

13.   Wu, G., J.R. Thompson, and V.E. Baracos. 1991. Glutamine metabolism in skeletal
      muscle from the broiler chick (Gallus domesticus) and the laboratory rat (Rattus
      norvegicus). Biochem. 3. 274:769-774.

14.   Thompson, J.R., and G. Wu. 1991. The effect of ketone bodies on nitrogen metabolism in
      skeletal muscle. Comp. Biochem. Physiol. lOOB:209-216.

15.   Wu, G., C.J. Field, and E.B. Marliss. 1991. Glutamine and glucose metabolism in rat
      splenocytes and mesenteric lymph node lymphocytes. Am. J. Physiol. 260:E141-El47.

16.   Wu, G., C.J. Field, and E.B. Marliss. 1991. Elevated glutamine metabolism in splenocytes
      from spontaneously diabetic BB rats. Biochem. 3. 274:49-54.

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17.   Wu, G., A. Gunasekara, H. Brunengraber, and E.B. Marliss. 1991. Effects of extracellular
      pH, CO      3 on ketogenesis in perfused rat liver. Am. J. Physiol. 261:E221-E226.
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18.   Wu, G., and E.B. Marliss. 1991. Deficiency of purine nucleoside phosphorylase activity in
      thymocytes from the immunodeficient diabetic BB rat. Clin. Exp. Immunol. 86:260-265.

19.   Wu, G., C.J. Field, and E.B. Marliss. 1991. Glutamine and glucose metabolism in
      thymocytes from normal and spontaneously diabetic BB rats. Biochem. Cell Biol.
      69:801-808.

20.   Wu, G., C.J. Field, and E.B. Marliss. 1991. Glucose and glutamine metabolism in rat
      macrophages: enhanced glycolysis and unaltered glutaminolysis in spontaneously diabetic
      BB rats. Biochim. Biophys. Acta 1115:166-173.

21.   Wu, G., C.J. Field, and E.B. Marliss. 1992. Enhanced glutamine and glucose metabolism
      in cultured rat splenocytes stimulated by phorbol myristate acetate plus ionomycin.
      Metabolism 41:982-988.

22.   Wu, G., and J.T. Brosnan. 1992. Macrophages can convert citrulline into arginine.
      Biochem. J. 281:45-48.

23.   Wu, G., and L.W. Greene. 1992. Glutamine and glucose metabolism in bovine blood
      lymphocytes. Comp. Biochem. Physiol. 103B:821-825.

24.   Wu, G., and E.B. Marliss. 1993. Enhanced glucose metabolism and respiratory burst in
      peritoneal macrophages from spontaneously diabetic BB rats. Diabetes 42:520-529.

25.   Wu, G. 1993. Determination of proline by reversed-phase high performance liquid
      chromatography with automated pre-colunin o-phthaldialdehyde derivatization. J.
      Chromatogr. 641:168-175.

26.   Wu, G., and N.E. Flynn. 1993. The activation of the arginine-citrulline cycle in
      macrophages from the spontaneously diabetic BB rat. Biochem. J. 294:113-118.

27.   Wu, G., and C.J. Meininger. 1993. Regulation of L-arginine synthesis from L-citrulline by
      L-glutamine in endothelial cells. Am. J. Physiol. 265:H1965-H1971.

28.   Wu, G., and D.A. Knabe. 1994. Free and protein-bound amino acids in sow’s colostrum
      and milk. J.Nutr. 124:415-424.

29.   Wu, G., D.A. Knabe, and N.E. Flynn. 1994. Synthesis of citrulline from glutamine in pig
      enterocytes. Biochem.J. 299: 115-121.

30.   Brook, A.A., S.A. Chapman, E.A. Ulman, and G. Wu. 1994. Dietary manganese
      deficiency decreases rat hepatic arginase activity. J. Nutr. 124:340-344.

31.   Wu, G., S. Majumdar, J. Zhang, H. Lee, and C.J. Meininger. 1994. Insulin stimulates
      glycolysis and pentose cycle activity in bovine microvascular endothelial cells. Comp.
      Biochem. Physiol. 108C:179-185.

32.   Field, C.J., G. Wu, and E.B. Marliss. 1994. Enhanced metabolism of glucose and
      glutamine in mesenteric lymph node lymphocytes from spontaneously diabetic BB rats.
      Can. J. Physiol. Pharmacol. 72:827-832.


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33.   Wu, G., A.G. Borbolla, and D.A. Knabe. 1994. The uptake of glutamine and release of
      arginine, citrulline and proline by the small intestine of developing pigs. J. Nutr.
      124:2437-2444.

34.   Dugan, M.E.R., D.A. Knabe, and G. Wu. 1994. Glutamine and glucose metabolism in
      intraepithelial lymphocytes from pre- and post-weaning pigs. Comp. Biochem. Physiol.
      109B:675-681.

35.   Wu, G., D.A. Knabe, W. Yan, and N.E. Flynn. 1995. Glutamine and glucose metabolism
      in enterocytes of the neonatal pig. Am. J. Physiol. 268:R334-R342.

36.   Wu, G., and N.E. Flynn. 1995. Regulation of glutamine and glucose metabolism by cell
      volume in lymphocytes and macrophages. Biochim. Biophys. Acta 1243:343-350.

37.   Wu, G., N.E. Flynn, W. Yan, and D.G. Barstow, Jr. 1995. Glutamine metabolism in chick
      enterocytes: absence of pyrroline-5-carboxylate synthase and citrulline synthesis.
      Biochem. J. 306:717-72 1.

38.   Wu, G. 1995. NO synthesis and the effect of aminoguanidine and N°-monomethyl-L
      arginine on the onset of diabetes in the spontaneously diabetic BB rat. Diabetes 44:360-
      364.

39.   Dugan, M.E.R., D.A. Knabe, and G. Wu. 1995. The induction of citrulline synthesis from
      glutamine in enterocytes of weaned pigs is not due primarily to age or change in diet. J.
      Nutr. 125:2388-2393.

40.   Wu, G., and N.E. Flynn. 1995. Effect of HC0
                                              3 on glutamine and glucose metabolism in
      lymphocytes. Metabolism 44:1247-1252.

41.   Wu, G., and C.J. Meininger. 1995. Impaired arginine metabolism and NO synthesis in
      coronary endothelial cells of the spontaneously diabetic BB rat. Am. J. Physiol.
      269:H1312-H13l8.

42.   Wu, G., and D.A. Knabe. 1995. Arginine synthesis in enterocytes of neonatal pigs. Am. J.
      Physiol. 269:R621-R629.

43.   Wu, G., F.W. Bazer, and W. Tuo. 1995. Developmental changes of free amino acid
      concentrations in fetal fluids of pigs. J. Nutr. 125:2859-2868.

44.   Wu, G. 1995. Urea synthesis in enterocytes of developing pigs. Biochem. J. 3 12:717-723.

45.   Wu, G., F.W. Bazer, W. Tuo, and S.P. Flynn. 1996. Unusual abundance of arginine and
      omithine in porcine allantoic fluid. Biol. Reprod. 54:1261-1265.

46.   Wu, G. 1996. Effects of concanavalin A and phorbol myristate acetate on glutamine
      metabolism and proliferation of porcine intraepithelial lymphocytes. Comp. Biochem.
      Physiol. 1 14A:363-368.

47.   Flynn, N.E., and G. Wu. 1996. An important role for endogenous synthesis of arginine in
      maintaining arginine homeostasis in neonatal pigs. Am. J. Physiol. 271:R1149-R1155.

48.   Wu, G., S.A. Meier, and D.A. Knabe. 1996. Dietary glutamine supplementation prevents
      jejunal atrophy in weaned pigs. J. Nutr. 126:2578-2584.


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49.   Wu, G., D.A. Knabe, N.E. Flynn, W. Yan, and S.P. Flynn. 1996. Arginine degradation in
      developing porcine enterocytes. Am. J. Physiol. 271:G913-G919.

50.   Wu, G. 1996. An important role for pentose cycle in the synthesis of citrulline and proline
      from glutamine in porcine enterocytes. Arch. Biochem. Biophys. 336:224-230.

51.   Pineres, M.A.R, W.C. Ellis, G. Wu, and S.C. Ricke. 1997. Effects of protease inhibitors on
      degradation of [‘
                     C]casein by ruminal microorganisms. Anim. Feed Sci. Tech. 64:113-
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52.   Pineres, M.A.R, W.C. Ellis, G. Wu, and S.C. Ricke. 1997. Effects of diphenyliodonium
      chloride on proteolysis and leucine metabolism by rumen microorganisms. Anim. Feed
      Sci. Tech. 65:139-149.

53.   Flynn, N.E., and G. Wu. 1997. Enhanced metabolism of arginine and glutamine in
      enterocytes of cortisol-treated pigs. Am. J. Physiol. 272:G474-G480.

54.   Meininger, C.J., and G. Wu. 1997. L-Glutamine inhibits NO synthesis in bovine venular
      endothelial cells. J. Pharmacol. Exp. Ther. 281:448-453.

55.   Flynn, N.E., and G. Wu. 1997. Glucocorticoids play an important role in mediating the
      enhanced metabolism of arginine and glutamine in enterocytes of postweaning pigs. J.
      Nutr. 127:732-737.

56.   Wu, G. 1997. Synthesis of citrulline and arginine from proline in enterocytes of postnatal
      pigs. Am. J. Physiol. 272:G1382-G1390.

57.   Kowalski, T.J., G. Wu, and M. Watford. 1997. Rat adipose tissue amino acid metabolism
      in vivo as assessed by microdialysis and arterio-venous techniques. Am. J. Physiol.
      273:E613-E622.

58.   Wu, G., P.K. Davis, N.E. Flynn, D.A. Knabe, and J.T. Davidson. 1997. Endogenous
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      postweaning growing pigs. J. Nutr. 127:2342-2349.


59.   Sprinkle, J.E., C.L. Ferrell, J.W. Holloway, B.G. Warrington, L.W. Greene, G. Wu, and
      J.W. Stuth. 1998. Adipose tissue partitioning of limited-fed beef cattle and beef cattle with
      ad libitum access to feed differing in adaptation to heat. J. Anim. Sci. 76:665-673.

60.   Sprinkle, J.E., H.S. Hansard, B.G. Warrington, J.W. Holloway, G. Wu, and S.B. Smith.
      1998. Physiological adaptations in adipose tissue of Brahman vs Angus heifers. J. Anim.
      Sci. 76:743-749.

61.   Wu, G., W.G. Pond, T.L. Ott, and F.W. Bazer. 1998. Maternal dietary protein deficiency
      decreases amino acid concentrations in fetal plasma and allantoic fluid of pigs. J. Nutr.
      128:894-902.

62.   Davis, P.K., and G. Wu. 1998. Compartmentation and kinetics of urea cycle enzymes in
      porcine enterocytes. Comp. Biochem. Physiol. B 119:527-537.

63.   Wu, G. 1998. Intestinal mucosal amino acid catabolism. J. Nutr. 128:1249-1252.

64.   Wu, G., M. Chung-Bok, N. Vincent, T.J. Kowalski, Y.-H. Choi, and M. Watford. 1998.

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      Distribution of phosphate-activated glutaminase isozymes in the chicken: absence from
      liver but presence of high activity in pectoralis muscle. Comp. Biochem. Physiol. B
      120:285-290.

65.   Zhang, J., G. Wu, R.S. Chapkin, and J.R. Lupton. 1998. Energy metabolism of
      colonocytes changes during the tumorigenic process and is dependent on diet and
      carcinogen. J. Nutr. 128:1262-1269.

66.   Wu, G. 1998. Amino acid metabolism in the small intestine. Trends Comp. Biochem.
      Physiol. 4:39-74.

67.   Wu, G., and S.M. Morris, Jr. 1998. Arginine metabolism: NO and beyond. Biochem. J.
      336:1-17.

68.   Reynolds, J.A., G.D. Potter, L.W. Greene, G. Wu, G.K. Carter, M.T. Martin, T.V.
      Peterson, M. Murray-Gerzik, G. Moss, and R. S. Erkert. 1998. Genetic-diet interactions in
      the hyperkalemic periodic paralysis syndrome in quarter horses fed varying amounts of
      potassium. I. Potassium and sodium balance, packed cell volume and plasma potassium
      and sodium concentrations. J. Equine Vet. Sci. 18:59 1-600.

69.   Reynolds, J.A., G.D. Potter, L.W. Greene, G. Wu, G.K. Carter, M.T. Martin, T.V.
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      the hyperkalemic periodic paralysis syndrome in quarter horses fed varying amounts of
      potassium. II. Symptoms of HYPP. J. Equine Vet. Sci. 18:655-611.

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      the hyperkalemic periodic paralysis syndrome in quarter horses fed varying amounts of
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      the hyperkalemic periodic paralysis syndrome in quarter horses fed varying amounts of
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      deficiency decreases NO synthase and ornithine decarboxylase activities in placenta and
      endometrium of pigs during early gestation. J. Nutr. 128:2395-2402.

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      argininosuccinate synthase in postweaning pigs. J. Nutr. 129:799-803.

75.   Dillon, E.L., D.A. Knabe, and G. Wu. 1999. Lactate inhibits citrulline and arginine
      synthesis from proline in pig enterocytes. Am. J. Physiol. 276:G1079-G1086.

76.   Wu, G., T.L. Ott, D.A. Knabe, and F.W. Bazer. 1999. Amino acid composition of the fetal
      pig. J. Nutr. 129:1031-1038.

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      from proline in cortisol-treated piglets. Am. J. Physiol. 279:E395-E402.

80.   Wu, G., C.J. Meininger, K. Kelly, M. Watford, and S.M. Morris, Jr. 2000. A cortisol surge
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      Kelly, and G. Wu. 2000. Impaired NO production in coronary endothelial cells of the
      spontaneously diabetic BB rat is due to tetrahydrobiopterin deficiency. Biochem. J.
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84.   Li, H., C.J. Meininger, and G. Wu. 2000. Rapid determination of nitrite by reversed-phase
      high-performance liquid chromatography with fluorescence detection. J. Chromatogr. B
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85.   Wu, G., T.E. Haynes, H. Li, and C.J. Meininger. 2000. Glutamine metabolism in
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88.   Becker, R.M., G. Wu, J.A. Galanko, W. Chen, A.R. Maynor, C.L. Bose, and J.M. Rhoads.
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89.   Kepka-Lenhart, D., S.K. Mistry, G. Wu, and S.M. Morris, Jr. 2000. Arginase I: a limiting
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